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 12
                           UNITED STATES DISTRICT COURT
 13
                         CENTRAL DISTRICT OF CALIFORNIA
 14
      DC COMICS,
 15                                             Case No. CV 10-3633 ODW (RZx)
                  Plaintiff,
 16                                             DECLARATION OF DANIEL M.
            v.                                  PETROCELLI IN SUPPORT OF
 17
      PACIFIC PICTURES                          DC COMICS’ UPDATED, INITIAL
 18   CORPORATION, IP WORLDWIDE,                OPPOSITION TO DEFENDANTS’
      LLC, IPW, LLC, MARC TOBEROFF,             MOTION TO STRIKE UNDER
 19   an individual, MARK WARREN                CALIFORNIA’S ANTI-SLAPP
      PEARY, as personal representative of      STATUTE
 20   the ESTATE OF JOSEPH SHUSTER,
      JEAN ADELE PEAVY, an individual,
 21   LAURA SIEGEL LARSON, an                  Fed. R. Civ. P. 56(d)
      individual and as personal
 22   representative of the ESTATE OF           Hon. Otis D. Wright II
      JOANNE SIEGEL, and DOES 1-10,
 23   inclusive,                                Courtroom:               540
 24               Defendants.                   Discovery Cutoff:        None Set
                                                Pretrial Conference:     None Set
 25                                             Trial:                   None Set
 26
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  1                   DECLARATION OF DANIEL M. PETROCELLI
  2         I, Daniel M. Petrocelli, declare and state as follows:
  3         1.     I am an attorney licensed to practice in the State of California and
  4   admitted to the Central District of California. I am a partner with the law firm of
  5   O’Melveny & Myers LLP, attorneys of record for plaintiff DC Comics in the
  6   above-entitled action. I am lead counsel for DC Comics in this action, and I have
  7   personal knowledge of the matters discussed herein.
  8         2.     This declaration is submitted as part of DC Comics’ Updated, Initial
  9   Opposition To Defendants’ Motion To Strike Under California’s Anti-SLAPP
 10   Statute to preliminarily oppose defendants’ motion and identify the discovery that
 11   is essential to submitting a full opposition to defendants’ motion, pursuant to Rule
 12   56(d) of the Federal Rules of Civil Procedure, CAL. CIV. PROC. CODE § 425.16(g),
 13   and Metabolife Int’l, Inc. v. Wornick, 264 F.3d 832, 846 (9th Cir. 2001); Moser v.
 14   Triarc Cos., 2007 WL 3026425, at *3 (S.D. Cal. Oct. 16, 2007); Chevron Corp. v.
 15   Bonifaz, 2010 WL 1948681, at *3 (N.D. Cal. May 12, 2010); Lafayette Morehouse,
 16   Inc. v. Chronicle Publ’g Co., 37 Cal. App. 4th 855, 868 (1995); Shropshire v. Fred
 17   Rappoport Co., 294 F. Supp. 2d 1085, 1099-1100 (N.D. Cal. 2003).
 18         3.     In Part I of this declaration, I describe certain evidence relevant to
 19   DC’s claims in this case and defendants’ SLAPP motion. In Part II, I summarize
 20   DC’s discovery efforts to date in this case. Defendants have yet to conduct any
 21   discovery.
 22         4.     In the course of my work on this case, I have reviewed true and correct
 23   copies of the documents described below. These documents are among the
 24   evidence that DC will seek to offer at trial in support of its complaint in this case. I
 25   have reviewed true and correct copies of the transcripts of the deposition testimony
 26   described below. This testimony, either through deposition or live witness
 27   testimony, is among the evidence that DC will seek to offer at trial. I have
 28
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  1   summarized below salient parts of the documents and testimony that pertain to the
  2   issues raised by defendants’ motion.
  3   I.       Certain Evidence Relevant to DC’s Third Through Sixth Claims
  4            A.    Marc Toberoff
  5            5.    According to a 2006 published website for one of Mr. Toberoff’s
  6   companies, “Intellectual Properties Worldwide” or “IPW”:
  7                   [Toberoff] is an intellectual property expert, entrepreneur and
               producer.... Prior to founding IPW, Mr. Toberoff acquired theatrical
  8            film, pay TV, merchandising and publishing rights to the classic
               television series: My Favorite Martian, Fantasy Island, The Wild Wild
  9            West.... Mr. Toberoff’s efforts led to Sony’s feature film, I SPY,
 10            starring Eddie Murphy and Owen Wilson (2002), which he executive
               produced, Disney’s feature film, My Favorite Martian (1998) ... which
 11            Mr. Toberoff produced....
 12   (Emphasis added.) The website also states: “IPW manages an impressive library
 13   of over 250 popular literary titles. In order to monetize these assets, IPW has
 14   strategic partnership with top talent agencies and production companies....”
 15   Attached hereto as Exhibit 1 is a true and correct copy of a January 4, 2006 version
 16   of the www.ipwla.com website.1
 17            6.    The Internet Movie Database website, IMDb.com, identifies
 18   Mr. Toberoff as a producer of 11 films and Intellectual Properties Worldwide as a
 19   production company for six films. Attached hereto as Exhibit 2 is a true and correct
 20   copy of the Internet Movie Database listings for Marc Toberoff and Intellectual
 21   Properties Worldwide as they appeared on September 26, 2010.
 22            7.    According to a published profile of Mr. Toberoff:
 23                  Toberoff’s penchant for biting the hand he hopes will feed him
               later—a rare duality that has him acting as a lawyer one minute, a
 24            movie producer the next—has made him a target for criticism. “It’s a
 25
           1
           In certain instances, exhibits attached hereto have been slightly reduced in size
 26   to confirm with the Local Rules regarding format and pagination of exhibits. See
 27   L.R. 11-5.2, 11-5.3, 11-5.4. This was done solely to prevent pagination indications
      from overlapping with other text and to clearly differentiate the new pagination
 28   from prior document stamps. No other changes were made to any document.
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  1           cagey thing to do, but I don’t think admiration comes with it,” says
              Karen Kehela Sherwood, who, as co-chair of Imagine Films, a division
  2           of Brian Grazer and Ron Howard’s Imagine Entertainment, has been
  3           pitched by Toberoff. “He’s not someone who hats have to go off to.”
      (Emphasis added.) Attached hereto as Exhibit 3 is a true and correct copy of an
  4
      article titled “Nastier Than a Speeding Bullet,” published on profile.com and dated
  5
      September 17, 2007.
  6
              8.    According to a Wall Street Journal article discussing Mr. Toberoff:
  7
                     Mr. Toberoff has pursued another line of work: producing. His
  8           Intellectual Properties Worldwide has acquired remake rights to
  9           classics like “High Sierra” and “The Asphalt Jungle....” This could
              theoretically put him in a delicate position, since he is representing
 10           TV-show creators suing studios, while his production company seeks
              the cooperation of studios that’s required to fund and distribute
 11           Hollywood films. Mr. Toberoff says he is aware of this potential
              conflict and “keeps a defined firewall between producing and legal
 12           matters.”
 13   (Emphasis added.) Attached hereto as Exhibit 4 is a true and correct copy of an
 14   article titled “The Rights Stuff,” published in The Wall Street Journal on July 15,
 15   2005.
 16           9.    This case is not the first time Mr. Toberoff and certain of his
 17   companies have been sued for alleged business activities. Attached hereto as
 18   Exhibit 5 is a true and correct copy of a complaint filed against Mr. Toberoff and
 19   Pacific Pictures Corporation in Los Angeles Superior Court on February 28, 1997
 20   (Alomar v. Cavana, Case No. BC166806). Attached hereto as Exhibit 6 is a true
 21   and correct copy of a complaint filed against Marc Toberoff and Intellectual
 22   Properties Worldwide in Los Angeles Superior Court on December 14, 2009 (Leeds
 23   v. Van Leeuwan, Case No. SC106045). This evidence is offered not for the truth of
 24   the allegations, but to show that Mr. Toberoff has engaged in business activities in
 25   the entertainment industry with one or more of the entities named here as
 26   defendants.
 27
 28
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   1         C.     The Siegels
   2         10.    In a 1975 agreement between DC’s affiliate Warner Communications
   3   Inc., Superman co-creator Jerome Siegel, and Joseph Shuster (“1975 Agreement”),
   4   Warner Communications agreed to pay Mr. Siegel and Mr. Shuster $20,000 per
   5   year until their deaths. Ex. 7 ¶ 5(a). The agreement also provided medical
   6   insurance coverage, lump sum payments, and annual survivor payments to their
   7   heirs. Id. ¶ 5. Attached hereto as Exhibit 7 is a true and correct copy of the
   8   December 23, 1975 agreement signed by Jerry Siegel, Joseph Shuster, and Warner
   9   Communications Inc.
 10          11.    In a February 14, 1982 letter to Steven J. Ross of Warner
 11    Communications, Joanne Siegel requested an amendment to the 1975 Agreement:
 12                 Should anything happen to Jerry, there is the problem of what’s
             to become of me as his widow. I’ll be 65 years old this year. And
 13          there is our daughter, Laura who would be left without any measure of
             security....
 14
                    [O]ur contract states that after Jerry’s demise, should it come
 15          before 1985, I would receive only $20,000 annually, about $16,000
             after taxes, or $10,000 after 1985, about $7,000 annually after taxes.
 16          This would plunge me into an impossible financial situation without
 17          dignity nor security....
                    Without an amendment to the contract stating that the same
 18          income continue to me, my financial security is in jeopardy....
 19                 We are so grateful to you for all you have done for us....
 20                 Fondest regards from Jerry, Joe, Laura and me. God bless you.
 21    Ex. 8 at 195-96 (emphasis added). Attached hereto as Exhibit 8 is a true and
 22    correct copy of that letter.
 23          12.    By return letter, Martin Payson of Warner Communications Inc.
 24    informed Ms. Siegel:
 25                  I am pleased to advise you that Warner Communications agrees
             that if Jerry should predecease you, Warner Communications will
 26          continue to pay to you for the remainder of your life the same benefits
             which it is then paying to Jerry.
 27
 28
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   1   Ex. 9. Attached hereto as Exhibit 9 is a true and correct copy of a March 15, 1982
   2   letter from Martin Payson to Joanne Siegel.
   3         13.   According to June and August 1988 letters from Mr. Payson to Joanne
   4   Siegel and Joseph Shuster, respectively, Warner Communications subsequently
   5   increased the annual payments to Siegel and Shuster, including an increase from
   6   $60,000 to $80,000 in 1988. Exs. 10, 11. Letters from March 1990 and March
   7   1991 show that, following the 1988 increase, DC made periodic “cost of living”
   8   increases to the Siegels and Shusters. Exs. 12, 13. Attached hereto as Exhibits 10,
   9   11, 12, and 13 are true and correct copies of letters from Mr. Payson dated June 20,
 10    1988; August 8, 1988; March 12, 1990; and March 5, 1991.
 11          14.   On April 3, 1997, notices of copyright termination were served by
 12    Laura Siegel Larson and Joanne Siegel on DC regarding certain works depicting
 13    Superman. Case No. 04-8400, Docket No. 293 at 20.
 14          15.   The deposition of Kevin Marks, the Siegels’ attorney prior to Mr.
 15    Toberoff, was taken in the related action filed by the Siegels against DC and others
 16    in 2004 (“Siegel case”). Mr. Marks testified that in 1999, the Siegels retained
 17    Marks to “represent the Superman termination interest.” Ex. 14 at 369:1-9. He
 18    “advise[d] them generally and [attempted] to negotiate an arrangement with Time
 19    Warner, or then AOL Time Warner.” Id. at 370:11-15. At the time he was
 20    retained, Mr. Marks testified that his law firm “no longer engaged in litigation
 21    practice.” Id. at 370:4-6.
 22          16.   Mr. Marks testified in the Siegel case that on October 16, 2001, John
 23    Schulman of DC’s affiliate Warner Bros. Pictures and he resolved the “final
 24    element” of their negotiation. When asked at his deposition whether “that
 25    [resolution] closed the deal,” Mr. Marks testified, “Yes.” Id. at 479:11-481:11.
 26          17.   According to a letter by Mr. Marks to John Schulman dated October
 27    19, 2001, Mr. Marks stated:
 28
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   1                This is to confirm our telephone conversation of October 19,
              2001. The Siegel Family (through Joanne Siegel and Laura Siegel
   2          Larson, the majority owners of the terminated copyright interests) has
   3          accepted D.C. Comics [sic] offer of October 16, 2001 in respect of the
              “Superman” and “Spectre” properties. The terms are as follows....
   4   Ex. 15 at 414 (emphasis added). Attached hereto as Exhibit 15 is a true and correct
   5   copy of the October 19, 2001 letter from Mr. Marks to Mr. Schulman.
   6          18.   An October 26, 2001 letter from Mr. Schulman to Mr. Marks outlines
   7   the parties’ agreed-upon terms. Attached hereto as Exhibit 16 is a true and correct
   8   copy of that letter.
   9          19.   At his deposition in the Siegel case, Mr. Toberoff testified that he
 10    called Mr. Marks in November 2001, “shortly after I made an agreement with the
 11    Shusters,” in order to “find out the status” of the Siegels’ termination. Ex. 17 at
 12    230:17-232:4. Mr. Marks testified that he never returned the November 2001
 13    phone call. Ex. 14 at 498:10-11. Attached hereto as Exhibit 18 is a true and correct
 14    copy of relevant excerpts from Mr. Marks’ call log.
 15           20.   In a February 1, 2002 letter, Patrick Perkins, counsel for Warner Bros.
 16    and DC Comics, sent a letter to Mr. Marks attaching a draft long-form agreement.
 17    Attached hereto as Exhibit 19 is a true and correct copy of that letter.
 18           21.   According to Mr. Marks’ call log, Mr. Toberoff called Mr. Marks
 19    again on February 6, 2002. Ex. 18 at 588.
 20           22.   Mr. Marks testified in the Siegel case that he subsequently returned Mr.
 21    Toberoff’s February 2002 phone call and described the conversation as follows:
 22                  I think Mr. Toberoff started the call by
 23           saying that he had called me earlier and that I hadn’t
              returned his call, for which I apologized, and then he
 24           introduced himself. He said he was a lawyer and that he
              represented individuals that had interests in rights to
 25           movie and other properties that had come into those
 26           rights either by way of reversions under the law or
              reversions under Guild agreements. I also recall him
 27           saying that he had a separate company that was in
              the business of acquiring intellectual property rights.
 28           I recall him saying that he was interested in the Superman
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   1         property and the Superboy property and had understood
             that I was representing the Siegel family interest, and
   2         he asked if he could talk to me about that.
   3         ...
                    I think I said we were in the process
   4         of -- in the documentation phase, were trying to document
             a deal.
   5
       Ex. 14 at 498:18-500:13 (emphasis added).
   6
             23.   Pursuant to letter agreement dated February 12, 2002, Mr. Toberoff
   7
       and Ari Emanuel, a Hollywood talent agent, formed IP Worldwide, LLC as a joint
   8
       venture between Pacific Pictures, Mr. Emanuel, and Endeavor talent agency.
   9
       Pacific Pictures promised to contribute its “current IP business” to IP Worldwide as
 10
       well as Mr. Toberoff’s “contacts” and “IP hit list.” The agreement also provided
 11
       for Mr. Toberoff to “personally receive screen credit and a fee” for his services as a
 12
       “Producer” to IP Worldwide’s intellectual property. Attached hereto as Exhibit 20
 13
       is a true and correct copy of the February 12, 2002, letter agreement.
 14
             24.   According to Mr. Toberoff’s testimony, IP Worldwide, LLC assigned
 15
       the rights from Pacific Pictures to IPW, LLC. Ex. 17 at 191:4-15.
 16
             25.   On May 9, 2002, Joanne Siegel sent a letter to Richard Parsons of
 17
       Time Warner Inc. regarding the February 1, 2002, long-form agreement. In
 18
       discovery responses in the Siegel cases, Joanne Siegel and Laura Siegel Larson
 19
       “den[ied]” that “the May 9 Letter … terminated negotiations with [DC] concerning
 20
       the Superman Notices.” Ex. 21 at 694 (RFA 85). Attached hereto as Exhibit 22 is
 21
       a true and correct copy of Ms. Siegel’s May 9, 2002, letter. Attached hereto as
 22
       Exhibit 21 is a true and correct copy of Plaintiffs Joanne Siegel And Laura Siegel
 23
       Larson’s Responses To Defendants’/Counterclaimant’s Second Set Of Requests For
 24
       Admission filed in the Siegel cases and dated June 7, 2006.
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   1         26.   According to the declaration of Mr. Schulman filed in the Siegel case
   2   in opposition to Plaintiffs’ Motion for Partial Summary Judgment, Mr. Marks had a
   3   phone conversation with Mr. Schulman on May 16, 2002, in which Mr. Marks said
   4   the February 1 long-form agreement was aggressive but “not contrary to what had
   5   been agreed to....” Case No. CV-04-8400, Docket No. 183 ¶ 11.
   6         27.   At his deposition in the Siegel case, Mr. Marks testified that he
   7   prepared a new draft agreement and sent it to “the Siegels on or about July 15,
   8   2002.” Ex. 14 at 545:25-546:3.
   9         28.   Mr. Marks also testified at his deposition in the Siegel case that he
 10    spoke with Mr. Toberoff in July 2002 and described that telephone conversation as
 11    follows:
 12                 Q. Okay. Can you tell me to the best of your
             recollection what was said by each of you and
 13          Mr. Toberoff in that conversation?
 14          A. I think Mr. Toberoff said he was -- wanted to
             check in with me to see where we were in our dealings
 15          with DC Comics, and I think I told him then that -- and I
 16          may have also said it in our first conversation -- that
             we had a confidentiality agreement with DC Comics, and I
 17          didn’t feel at liberty to discuss the status of our
 18          dealings with him.
                    Mr. Toberoff said, “Can you tell me what DC
 19          Comics offered you,” and I said “No. We have a
 20          confidentiality agreement.”
                    And I believe Mr. Toberoff said, “Would you be
 21          willing to enter into negotiations with me,” and I
 22          believe I said, “Initiating negotiations, no. That’s
             something that makes me very uncomfortable. If you have
 23          an offer, present it to me, and I’ll present it to the
 24          client.”
 25    Ex. 14 at 513:10-514:3.
 26          29.   According to Mr. Marks’ deposition testimony in the Siegel case, on or
 27    around August 8, 2002, he had a conference call with Mr. Toberoff and Mr.
 28    Emanuel that he described as follows:
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   1                ... they understood that the Siegel family had
             an interest in the termination rights and viewed that as
   2
             perhaps the most valuable of properties and wanted to
   3         make a proposal.
             Q. Okay. What did you say?
   4
             A. I said in substance and effect, “I’m listening.”
   5         And I’m not sure who spoke, but they made a proposal of
             $15 million and what was described as a meaningful back
   6
             end, which I understood to be a contingent compensation
   7         position or a royalty position in the exploitation of the
             property.
   8
   9   Id. at 515:20-516:5.
 10          30.   In the Toberoff Timeline, attached to DC’s First Amended Complaint
 11    as Exhibit A, the author describes Mr. Toberoff’s August 2002 contacts regarding
 12    the Siegels as follows:
 13                 MT and Ari Emanuel, partner and agent at Endeavor, contacts
             Kevin Marks at Gang, Tyre, Ramer, & Brown again, (who represented
 14          Joanne and Laura Siegel), on August 8, 2002. MT approaches the
             Siegels, not as an attorney but as a film producer, stating that he is
 15          “allied” with Emanuel, hoping such a claim will legitimize him.
 16                 On August 8th 2002, MT tells Marks that he and Emanuel have a
             billionaire ready to offer $15 million dollars up-front, plus what they
 17          promise to be meaningful participation from proceeds for exploitation
 18          of the Siegels’ rights to SUPERMAN and some continued royalties on
             an ongoing basis in all media....
 19                 Within their offer, MT appeals to the Siegels’ sense of
 20          ownership and encourages them to take this deal. MT says he can help
             them make a movie in direct competition to the one being made at
 21          Warner Brothers (MT makes this argument to Joanne and Laura, all
             the while knowing full well that no one would ever go near making
 22          such an attempt; no other studio would go for it because of the division
 23          of rights, and no one outside of the studio system would attempt such
             an endeavor for all the enormous costs attributable to the making,
 24          marketing and distribution of such a film.) In other words, MT
             displays “predatory intent” in his initial approach to the Siegels from
 25          the very beginning....
 26                Upon the Siegels signing the agreement, MT then tells Joanne
             and Laura that his mysterious billionaire has decided to invest
 27          elsewhere....
 28
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   1                Significantly, MT admits to Laura Siegel that there never
             was a billionaire willing to invest $15 million when he first
   2         approached them. But by then the Siegels were concerned about
   3         appearing flaky for changing lawyers a few times. They decide to
             stick it out.
   4
       FAC Ex. A at 63-64, 67. (emphasis in original).
   5
             31.   Mr. Marks testified in the Siegel case that he conveyed Mr. Toberoff
   6
       and Mr. Emanuel’s offer to the Siegels shortly thereafter. Ex. 14 at 169:21-170:8.
   7
       According to the Toberoff Timeline:
   8
                     Marks conveys MT’s offer to the Siegels, and Marks does say to
   9         the Siegels, it is better than the one you have. However, Marks also
             tells the Siegels that he would testify in court against the Siegels if
 10          they accepted this offer because he believes there has already been an
 11          agreement reached [with Time Warner and DC Comics].
 12    FAC Ex. A at 63.
 13          32.   A September 21, 2002 letter from Joanne Siegel and Laura Siegel
 14    Larson to Mr. Marks states:
 15                  As we previously discussed with you and hereby affirm, we
 16          rejected DC Comics’ offer for the Siegel Family interest in Superman
             and other characters sent to us by you on February 4, 2002. We
 17          similarly reject your redraft of the February 4, 2002 document which
             you sent to us on July 15, 2002. Therefore, due to irreconcilable
 18          differences, after four years of painful and unsatisfying negotiations,
             this letter serves as formal notification that we are totally stopping and
 19          ending all negotiations with DC Comics, Inc.....
 20                This letter is also notification that, effective immediately, we are
 21          terminating Gang, Tyre, Ramer & Brown, Inc., and all of your firm’s
             partners, associates and employees as representatives of the Siegel
 22          Family interest regarding Superman....
 23    (emphasis added). Docket No. 207-1.
 24          33.   In a September 21, 2002, letter from Joanne Siegel and Laura Siegel
 25    Larson to Paul Levitz of DC Comics, the Siegels stated:
 26                We regret to inform you that after many years of difficult
 27          negotiations with your representatives culminating in an offer sent to
             us on February 4, 2002, irreconcilable differences exist that cannot be
 28
                                                          PETROCELLI DECL. ISO DC’S UPDATED
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   1         overcome. Therefore, effective immediately, we are totally stopping
             and ending negotiations with DC Comics, Inc....
   2
   3   (emphasis added). Attached hereto as Exhibit 23 is a true and correct copy of that
   4   letter. Ms. Larson testified at her deposition in this case that until this letter was
   5   sent on September 21, negotiations with DC had not been terminated. Ex. 24 at
   6   149:17-20; 211:20-212:4.
   7         34.    Ms. Larson testified in this case that after initially contacting Mr.
   8   Toberoff, a meeting was held at the offices of the Endeavor Talent Agency, and
   9   was attended by Ms. Larson, Ms. Siegel, and Mr. Toberoff. Ms. Larson described
 10    this as an initial “meet-and-greet” with Mr. Toberoff. Ex. 24 at 107:14-110:10.
 11          35.    Ms. Larson testified that shortly thereafter, a second meeting was held
 12    between Ms. Larson, Ms. Siegel, Mr. Toberoff, and Mr. Emanuel, in Mr.
 13    Emanuel’s office at the Endeavor Talent Agency. Ms. Larson testified that this was
 14    the first time they met Mr. Emanuel and they “wanted to know what his vision was
 15    of the [Superman] character and what he thought he might … bring to [the Siegels]
 16    as a representative.” Id. at 118:16-121:9. During this meeting, Ms. Larson
 17    understood that the discussions were taking place “under this heading of IP
 18    Worldwide.” Id. at 121:13-16. Ms. Larson testified that at the meeting, the Siegels
 19    discussed the August 2002 offer to acquire their interests in the Superman
 20    termination notice conveyed to Mr. Marks by Mr. Toberoff and Mr. Emanuel. Mr.
 21    Emanuel gave the Siegels information relating to his offer, including that he was a
 22    “rich guy,” he was willing “to put a substantial amount of money up front and, … if
 23    he was able to negotiate … a good deal for [the Siegels], that [they] would have
 24    meaningful participation.” The upfront money was “in the range of 15 million
 25    [dollars].” Id. at 142:1-143:21.
 26          36.    Ms. Larson testified that at the time of the meeting with Mr. Toberoff
 27    and Mr. Emanuel, negotiations with DC had not been terminated. According to
 28    Ms. Larson, at the time of the discussion the Siegels “were like 95 percent there.
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   1   We were, you know, going to cutoff negotiations and everything, you know, so we
   2   were really really close to doing it early on.” Id. at 148:24-149:7.
   3         37.   Ms. Larson testified that both of these meetings occurred prior to the
   4   Siegels entering into their agreement with IP Worldwide. Id. at 118:16-121:9.
   5         38.   In October 2002, the Siegels entered into an agreement with IP
   6   Worldwide providing:
   7                Owner hereby warrants and represents that Owner will not
             transfer, assign, license or in any manner encumber the Rights during
   8         the Term or extended Term other than through or as a result of IPW’s
             exclusive representation hereunder, with the exception of by will,
   9         probate or pursuant to other Court order.
 10                 ...
 11                 The parties understand and acknowledge that the scope of this
             Agreement does not include legal services and/or expenses in
 12          connection with litigation or formal legal arbitration, if any.
 13    Ex. 56 ¶¶ 8, 10. Attached hereto as Exhibit 56 is a true and correct copy of that
 14    agreement. The agreement also provided for a fee of “ten percent (10%) of any and
 15    all gross compensation payable including, without limitation, option, quitclaim or
 16    licensing fees, purchase price, settlement amounts, advances, dispute resolution,
 17    settlement or otherwise.” Id. ¶ 6. Ms. Larson testified that she understood the ten
 18    percent fee to IP Worldwide, which included Mr. Toberoff and Mr. Emanuel, was
 19    “like an agent’s fee.” Ex. 24 at [42:5-18].
 20          39.   Ms. Larson testified that there was “no agreement between any
 21    member of the Siegel family and the law offices of Marc Toberoff in 2002.” Ex. 24
 22    at 47:18-24. According to Ms. Larson, in 2002, “[t]he only agreement that [the
 23    Siegels] entered into for the services of … Mr. Toberoff was the IP Worldwide
 24    agreement.” Id. at 48:3-6.
 25          40.   In a letter dated October 28, 2002 from Joanne Siegel and Laura Siegel
 26    Larson to Lillian Laserson of DC Comics, the Siegels attached their September 21,
 27    2002 “notice to DC Comics … which totally stopped and ended negotiations with
 28
                                                          PETROCELLI DECL. ISO DC’S UPDATED
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   1   DC Comics....” Attached hereto as Exhibit 25 is a true and correct copy that
   2   October 28, 2002, letter.
   3         41.   On October 3, 2004, Ms. Siegel and Ms. Larson executed a legal
   4   retainer agreement with the Law Offices of Marc Toberoff. The agreement
   5   provides Mr. Toberoff with a fee of “forty (40%)” of “any and all gross sums of
   6   money or other consideration recovered, confirmed or awarded” to the Siegels. Ex.
   7   26 ¶ 5(a). Attached hereto as Exhibit 26 is a true and correct copy of that October
   8   3, 2004, agreement. Mr. Toberoff and the Siegels amended the legal retainer
   9   agreement on October 17, 2004. Attached hereto as Exhibit 27 is a true and correct
 10    copy of the October 17, 2004, amendment.
 11          B.    The Shusters
 12          42.   Joseph Shuster, who co-created Superman with Jerome Siegel, died on
 13    July 30, 1992. He left two siblings, Jean Peavy and Frank Shuster, as well as a
 14    nephew, Mark Warren Peary.
 15          43.   On August 21, 1992, Ms. Peavy sent a letter to Time Warner and DC
 16    explaining that she was the sole heir to Shuster’s estate and that Shuster had left “a
 17    crushing burden of unpaid debts and bills and only a tiny estate.” She asked that
 18    Time Warner and DC Comics “pay his final debts and expenses.” Attached hereto
 19    as Exhibit 28 is a true and correct copy of that letter. DC Comics agreed to pay
 20    Shuster’s debts and increase Frank Shuster’s annual survivor payments under the
 21    1975 agreement.
 22          44.   On September 10, 1992, Frank Shuster sent a letter to DC stating:
 23                [Jean] pointed out that my income tax as a single individual
             would be higher than hers as a married person. She made the
 24          suggestion that if payments were made in her name, she would not
             pursue the termination of the Superman copyright as provided for to
 25          creators’ heirs in the 1976 U.S. Copyright Act....
 26    Docket No. 61-8.
 27
 28
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   1         45.    DC entered into an agreement with Jean Peavy and Frank Shuster on
   2   August 1, 1992 (“1992 Agreement”), which provided:
   3                [T]his agreement fully settles all claims to any payments or
             other rights or remedies which you may have under any other
   4         agreement or otherwise, whether now or hereafter existing regarding
             any copyrights, trademarks, or other property right in any and all work
   5         created in whole or in part by your brother, Joseph Shuster, or any
   6         works based thereon. In any event, you now grant to us [DC] any such
             rights and release us, our licensees and all others acting with our
   7         permission, and covenant not to assert any claim of right, by suit or
             otherwise, with respect to the above, now and forever.
   8
       (Emphasis added.) Attached hereto as Exhibit 29 is a true and correct copy of the
   9
       August 1, 1992 agreement signed by Ms. Peavy, Frank Shuster, and DC.
 10
             46.    Between 1992 and 1999, Ms. Peavy sent letters to DC on several
 11
       occasions expressing her gratitude to DC for the benefits provided by the 1992
 12
       Agreement and other actions the company took on her behalf. Attached hereto as
 13
       Exhibits 31-36 are true and correct copies of correspondence between Ms. Peavy
 14
       and DC Comics from 1992 through 1999. Attached hereto as Exhibit 30 is a letter
 15
       dated September 8, 1992 from DC Comics to Frank Shuster.
 16
             47.    In a September 7, 1999 letter to Paul Levitz of DC, Ms. Peavy wrote,
 17
       “I have learned from the Internet that Joanne Siegel has filed a copyright claim for
 18
       SUPERMAN. I want you to know that I intend to continue to honor our pension
 19
       agreement.” Docket No. 61-10.
 20
             48.    In November 2001, Mr. Toberoff’s company, Pacific Pictures
 21
       Corporation, entered into an agreement with Ms. Peavy and Mr. Peary regarding
 22
       their putative Superman and Superboy rights (“2001 PPC Agreement”). Toberoff
 23
       executed the agreement as “President” of Pacific Pictures. Attached hereto as
 24
       Exhibit 54 is a true and correct copy of the 2001 PPC Agreement.
 25
             49.    The 2001 PPC Agreement provides in part: “[Peavy and Peary] hereby
 26
       transfer and assign to the Venture their rights, title and interests in the Rights,”
 27
 28
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   1   defined to include the “character, story element, and indicia associated with”
   2   Superman and Superboy. Ex. 54 ¶¶ 1, 2. It goes on to state:
   3               The parties each warrant and represent that after signing this
             Agreement they will not without the express written consent of all the
   4         parties transfer, limit or encumber the Rights in any respect....
   5               Any and all moneys and proceeds received ... will be shared,
             divided and payable: fifty percent (50%) to [Peavy and Peary] and fifty
   6         percent (50%) to PPC.
   7   Id. ¶¶ 4-5 (emphasis added). In addition, the agreement provides for the separate
   8   retention of Mr. Toberoff:
   9                The Venture and/or the Estate of Joe Shuster (to be established
             hereunder) will retainer Marc Toberoff, Esq. to render legal services in
 10          connection with the Rights and the Venture, including in connection
             with all legal disputes, litigation, arbitration and/or mediation
 11          regarding the Rights; to implement, enforce and prosecute the Rights;
 12          and to handle the negotiation of any contracts regarding exploitation of
             the rights.
 13
       Id. ¶ 7. Mr. Peary testified at his deposition in this case that the Shusters did not
 14
       enter into a “legal retainer” agreement with Mr. Toberoff until 2004—three years
 15
       after the 2001 agreement. Ex. 37 at 198:7-13. Finally, the agreement states:
 16                 Upon the expiration of the Term and the winding-up of the
 17          Venture or in the event of termination of the Venture for any reason,
             all Rights, property or assets of the Venture will be held fifty percent
 18          (50%) by the Claimants and fifty percent (50%) by PPC … Claimants
             and PPC will each be entitled to receive and continue to receive fifty
 19          percent (50%) of all Proceeds derived from the Rights after
 20          termination of the Venture.
       Docket No. 61-11 ¶ 8 (emphasis added). Mr. Peary testified that he understood
 21
       paragraph 8 to mean that if the joint venture were terminated for any reason, the
 22
       “interest in proceeds coming from the [Superman] rights” would be held fifty
 23
       percent by the Shusters and fifty percent by Pacific Pictures Corporation. Ex. 37 at
 24
       208:3-210:5.
 25
             50.    In October 2003, Ms. Peavy and Mr. Peary initiated a probate action in
 26
       Los Angeles Superior Court to probate Joseph Shuster’s purported will. Although
 27
 28
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   1   she was appointed executrix in Mr. Shuster’s will, Ms. Peavy declined to act in that
   2   capacity and Mr. Peary was appointed executor of the estate. Docket No. 183-2.
   3         51.   On October 27, 2003, Pacific Pictures entered into another agreement
   4   with Ms. Peavy and Mr. Peary (“2003 PPC Agreement”), providing that it
   5   “supplement[ed] the joint venture agreement dated as of November 23, 2001....”
   6   Attached hereto as Exhibit 55 is a true and correct copy of that agreement.
   7   Toberoff executed the agreement as “President” of Pacific Pictures. The 2003 PPC
   8   Agreement also stated:
   9               PPC ... is not a law firm....
 10                The parties each warrant and represent that after signing this
             Agreement they will not without the express written consent of all
 11          parties transfer, limit or encumber the Rights in any respect....
 12                Upon the expiration of the Term or in the event of termination
             by Client of this agreement for any reason, all Rights will be held fifty
 13          percent (50%) by the Client and fifty percent (50%) by PPC ... Client
             and PPC will each be entitled to receive and continue to receive fifty
 14          percent (50%) of all Proceeds derived from the Rights after
             termination, if any.
 15
       Id. ¶¶ 2, 4, 7 (emphasis added).
 16
             52.   On November 10, 2003, a notice of copyright termination regarding
 17
       Joseph Shuster’s putative interest in Superman was served on Mr. Peary’s behalf.
 18
       Attached hereto as Exhibit 38 is a true and correct copy of the Notice of
 19
       Termination of Transfer Covering Extended Copyright Renewal Term of
 20
       “Superman” dated November 10, 2003.
 21
             53.   To the best of my knowledge, since execution of the 2001 PPC
 22
       Agreement, neither Jean Peavy nor Mark Warren Peary has filed any litigation
 23
       against DC Comics concerning putative Superman rights.
 24
             54.   In a September 10, 2004, letter from Mr. Toberoff to Mr. Peary and
 25
       Ms. Peavy, Mr. Toberoff “confirm[ed]” that the 2001 PPC Agreement and 2003
 26
       PPC Agreement “have been cancelled.” Docket No. 163-7.
 27
 28
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   1         55.   On or about September 10, 2004, Mr. Peary and Ms. Peavy executed a
   2   legal retainer agreement with the Law Offices of Marc Toberoff, dated “As of
   3   November 23, 2001.” Ex. 39 at 1483. The agreement provides Mr. Toberoff with a
   4   fee of “fifty (50%) … or any and all gross sums of money or other compensation
   5   recovered, confirmed or awarded” to the Shusters. Ex. 40 ¶ 4. Attached hereto as
   6   Exhibit 40 is a true and correct copy of the September 10, 2004, legal retainer
   7   agreement. Attached hereto as Exhibit 39 is a true and correct copy Of Defendant
   8   Mark Warren Peary’s Response To Plaintiff DC Comics’ Second Set Of
   9   Interrogatories dated June 2, 2011.
 10          56.   According to Mr. Peary’s testimony in this case, the first time the
 11    Shusters ever signed an agreement with Mr. Toberoff as a lawyer was in 2004. Ex.
 12    37 at 198:3-13.
 13          57.   In a letter dated May 12, 2005, from Mr. Toberoff to Patrick Perkins,
 14    Mr. Toberoff expressed the Shusters’ understanding that DC had denied the validity
 15    of the Shuster Termination Notices:
 16          Given your firm’s prior letter on DC’s behalf denying our clients’
             termination interests without legal grounds, my clients have requested
 17          that any further communications to them be made through our law firm
             and not to them directly.”
 18
 19    Docket No. 183-4.
 20          D.     Consent Agreement
 21          58.   Before a 2008 mediation session in the Siegel case, Mr. Toberoff
 22    informed DC Comics about certain arrangements between the Shusters and Siegels
 23    relevant to their entering into agreements with DC. See Docket No. 147-1 at 18-23.
 24    A mediation thereafter ensued, pursuant to a JAMS Confidentiality Agreement.
 25    Docket No. 126-23. It did not result in a settlement,
 26          59.   According to Mr. Peary’s deposition testimony in this case, the 2008
 27    consent agreement was signed by the Shusters, Siegels, and Mr. Toberoff and
 28
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   1   remains currently effective. Ex. 37 at 56:14-57:7, 65:15-25, 72:5-7. According to
   2   Mr. Peary’s deposition testimony, the consent agreement requires the Shusters to
   3   obtain the Siegels’ consent in order to enter into an agreement with DC. Id. at
   4   82:22-83:8.
   5   II.   Discovery
   6         60.     Although this case was initially filed over one year ago and discovery
   7   has commenced, DC’s need for additional discovery, in the event that defendants’
   8   motions are not fully denied, is not due to its lack of diligence. Since the start of
   9   this case, DC has endeavored to take discovery in support of its claims. Defendants
 10    have asserted in their motion that “there is no need for discovery” here because
 11    “DC has already taken discovery during the six-year Siegel I litigation.” Docket
 12    No. 196 at 12. However, new evidence has emerged—and continues to emerge—
 13    that relates to DC’s claims in this case, including its oppositions to defendants’
 14    three motions to dismiss and/or strike under Federal Rule of Civil Procedure 12
 15    (“Rule 12 Motions”), and motion to strike under California’s anti-SLAPP statute
 16    directed at DC’s Fourth, Fifth, and Sixth claims for relief, which arise under state
 17    law (“Motion to Strike”).
 18          A.      Initial Efforts to Conduct Discovery
 19          61.     DC filed its initial complaint on May 14, 2010. Docket No. 1. On
 20    August 13, 2010, defendants filed their first set of Rule 12 Motions and Motion to
 21    Strike. Docket Nos. 30-31, 33-34. Shortly after DC filed its complaint, a dispute
 22    arose between the parties regarding scheduling an initial Rule 26(f) discovery
 23    conference to commence depositions and written discovery. Defendants contended
 24    that discovery should not commence until the Court ruled on their Rule 12 Motions,
 25    Motion to Strike, and Rule 54(b) motion in the Siege case. See, e.g., Docket No.
 26    44-1 at 4-7. Unable to reach a compromise, DC served a motion to initiate
 27    discovery on August 13, 2010. Docket No. 44-1 at 2-4, 8-17.
 28
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   1         62.    In response to DC’s motion to initiate discovery, defendants agreed to
   2   participate in the initial conference. The parties conducted their Rule 26(f)
   3   discovery conference on August 16, 2010, the earliest date defendants would agree
   4   to it. The next day, DC served deposition notices and requests for production of
   5   documents on defendants Joanne Siegel, Laura Siegel Larson, Jean Peavy, and
   6   Mark Peary. Docket No. 61-20 at 137.
   7         63.    Defendants filed two motions seeking to stay and/or limit all discovery.
   8   Defendants’ first motion, filed at the same time as DC’s motion to initiate
   9   discovery, sought to bar discovery regarding an anonymous letter written by a
 10    former colleague of defendant Marc Toberoff titled “Superman – Marc Toberoff
 11    Timeline.” Docket No. 42. Defendants’ second motion sought to stay the four
 12    depositions noticed by DC on August 17 pending resolution of their Rule 12
 13    Motions and Motion to Strike. Docket No. 61.
 14          64.    Magistrate Zarefsky ruled on all three discovery motions on September
 15    20, 2010. Docket No. 74. The Magistrate denied DC’s motion to initiate discovery
 16    because, as he stated at the hearing, DC had already initiated discovery by serving
 17    the deposition notices at issue, and denied defendants’ motion for a protective order
 18    regarding the Toberoff Timeline. Id. The Magistrate granted in part and denied in
 19    part defendants’ motion for a protective order to stay depositions pending rulings
 20    on dispositive motions and limiting the scope and time of depositions. He ordered
 21    that the depositions would be stayed until November 15, 2010, but could commence
 22    thereafter, id., and held:
 23                [T]here’s nothing that prevents [DC] from commencing
             discovery. The only automatic stay that federal law imposes is a stay
 24          before the Rule 26(f) conference, and that conference has taken place.
 25                 In the Court’s view, the California anti-SLAP statute does not
 26          govern these federal proceedings and impose an automatic stay. This
             is not to say that the Court could not in an appropriate circumstance
 27          impose such a stay, and that the state’s statute could not be a factor
             because in the Court’s view it can. But no stay exists automatically
 28          right now as a result of the statute.

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   1   Docket No. 95 at 56:23-57:9. The Magistrate further specified: “There shall be no
   2   limit to the subject matter covered in the depositions.” Docket No. 74.
   3         B.     Defendants’ First Appeal and DC’s First Motion to Compel
   4         65.    DC filed its First Amended Complaint (“FAC”) on September 3, 2010.
   5   Docket No. 49. In light of DC’s amendment, the Court issued an administrative
   6   order on September 7, vacating defendants’ Rule 12 Motions and Motion to Strike
   7   as moot. Docket No. 52. On September 20, defendants filed three new Rule 12
   8   Motions and a new Motion to Strike, all aimed at DC’s FAC. Docket Nos. 75, 77-
   9   78, 80; see also Docket Nos. 89-92, 98, 100, 102-03.
 10          66.    On the same day defendants filed their dispositive motions, the Siegel
 11    and Shuster defendants served their initial responses to DC’s August 17 document
 12    requests. DC disputed the adequacy of defendants’ responses, which asserted (i)
 13    boilerplate objections that, under the law, amount to no objection at all; (ii) non-
 14    specific privilege claims that prevent DC from challenging them; and (iii) the very
 15    same objections the Magistrate rejected in denying defendants’ motion for a
 16    protective order—e.g., that their Motion to Strike barred discovery and that
 17    “discovery should be stayed” until the Court ruled on their Rule 12 Motions,
 18    Motion to Strike, and Rule 54(b) motion. Defendants produced no documents or
 19    privilege logs. Docket No. 125 at 1.
 20          67.    DC exchanged numerous correspondence with defendants, participated
 21    in a conference with defendants, and allowed defendants to serve amended
 22    responses. Defendants continued to assert the same objections and refused to
 23    produce any documents or privilege logs. On October 11, DC served its portion of
 24    a joint stipulation regarding its motion to compel production of documents. Docket
 25    No. 162-1.
 26          68.    On October 7, defendants filed their first of various interlocutory
 27    appellate actions. Docket No. 104. Defendants appealed this Court’s September 7
 28    order vacating as moot defendants’ initial dispositive motions. Id.
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   1          69.   In light of defendants’ appeal, on October 14, the Court vacated
   2   defendants’ second set of dispositive motions and administratively stayed the case
   3   pending the outcome of their appeal. Docket No. 109.
   4          70.   On October 21, the Ninth Circuit issued an order compelling
   5   defendants to “move for voluntary dismissal of the[ir] appeal or show cause why it
   6   should not be dismissed for lack of jurisdiction.” Appellate Case No. 10-56594,
   7   Docket No. 4. Defendants submitted their response to the Court’s order on
   8   November 12, followed by DC’s opposition on November 24. Id. Docket Nos, 5-1,
   9   7-1.
 10           71.   While defendants attempted to show cause why the Ninth Circuit had
 11    jurisdiction to entertain their interlocutory appeal, DC moved to modify the Court’s
 12    October 14 stay order to permit DC to take full discovery in this case on November
 13    1. Docket No. 110. On November 16, the Court granted DC’s motion, ruling:
 14               Good cause appearing, IT IS HEREBY ORDERED that plaintiff
              DC Comics’ Motion to Modify the Court’s October 15, 2010
 15           Administrative Order Staying Action Pending Outcome of Appeal is
              GRANTED; and:
 16
 17           The stay imposed in the Court’s October 15, 2010 order is hereby
              modified to allow DC Comics to take full discovery related to its
 18           federal claims;

 19           The stay imposed in the Court’s October 15, 2010 order is hereby
              modified to allow DC Comics to take full discovery related to its state-
 20           law claims; and,
 21           The stay imposed in the Court’s October 15, 2010 order is hereby
              modified to allow DC Comics to proceed with full and complete
 22           discovery of Joanne Siegel, Laura Siegel Larson, Jean Peavy, and
              Mark Peary.
 23
 24    Docket No. 117.
 25           72.    The next day, DC informed defendants of its intention to proceed with
 26    its motion to compel the production of documents in order to avoid further delay of
 27    discovery. Docket No. 128-1.
 28
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   1          73.     On November 22, defendants sought ex parte relief to reinstate their
   2   dispositive motions and requested another 30-day stay of discovery to allow the
   3   Court to resolve the motions. Docket No. 119. Two days later, the Court denied
   4   defendants’ ex parte application. Docket No. 124.
   5          74.     After unsuccessful negotiations on a stipulation regarding defendants’
   6   production of documents, DC filed its motion to compel on November 22. Docket
   7   No. 125. On the day their opposition was due, defendants agreed to a stipulation to
   8   a court order requiring them to produce or log all responsive documents. Docket
   9   No. 132 ¶ 1.
 10           75.     On December 7, the Court entered an order granting the parties’
 11    stipulation regarding defendants’ production of documents and privilege logs.
 12    Docket No. 133. The order states:
 13                  (1) By 6:00 p.m. PST on December 7, 2010, Defendants will
              produce, by personal service on DC’s counsel at its Century City
 14           offices, all documents and other materials responsive to each and every
              one of DC’s Requests, except for documents that are subject to a claim
 15           of attorney-client privilege, the attorney work-product doctrine or any
              other privilege available under law, or to a claim that such responsive
 16           documents and other materials are protected under the parties’ May 1,
              2008 JAMS Confidentiality Agreement (collectively, “Privilege” of
 17           “Privileged”). Aside from documents and materials subject to a claim
              of Privilege or falling under the except set in sections (4) and (5)
 18           below, Defendants will not refuse to produce or refuse to log any
              documents or materials based on the objections Defendants previously
 19           asserted in their responses to DC’s Requests.
 20                 (2) By 6:00 p.m. PST on December 15, 2010, Defendants will
 21           furnish, by personal service on DC’s counsel at its Century City
              offices, complete Privilege logs identifying any and all Privileged
 22           documents and other materials for which Defendants assert a claim of
              Privilege in response to DC’s Requests.
 23
 24    Id. at 1.

 25           76.     In January, the Ninth Circuit dismissed defendants’ first appeal,

 26    finding that it “lack[ed] jurisdiction to review the district court’s September 7, 2010

 27    order because the order is not a final appealable decision.” Appellate Case No. 10-

 28    56594, Docket No. 15.

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   1         C.     Joanne Siegel Deposition; Defendants’ Second Appeal; and
   2                Defendants’ First Ninth Circuit Writ
   3         77.    DC originally noticed the deposition of Joanne Siegel for October 5,
   4   2010. Docket No. 61-21. Following the Court’s modification of its administrative
   5   stay order, on November 22, 2010, DC served an amended notice setting Ms.
   6   Siegel’s deposition for December 13. Attached hereto as Exhibit 41 is a true and
   7   correct copy of that amended notice. On December 2, defendants sent a letter
   8   stating that Ms. Siegel would not appear for her deposition on that date and was not
   9   available until January 10 at the earliest. Docket No. 164-3 at 161. In subsequent
 10    discussions, the parties could not agree on a date certain for Ms. Siegel’s
 11    deposition, culminating in DC serving defendants with its portion of a motion to
 12    compel the deposition of Ms. Siegel. Docket No. 162-3. Two days before their
 13    opposition was due, defendants agreed to produce Ms. Siegel for deposition on
 14    January 12, 2011, and, if necessary, on January 14 for any carry-over. Docket Nos.
 15    162-4 at 384-87; 281-1 at 3. As a result, DC did not proceed with its motion to
 16    compel. DC later rescheduled the deposition for two weeks later, on account of a
 17    jury service summons I received that conflicted with Ms. Siegel’s deposition.
 18    Shortly thereafter, Ms. Siegel passed away, before DC could depose her.
 19          78.    On December 16, defendants noticed a second appeal to the Ninth
 20    Circuit and filed a petition for writ of mandamus challenging this Court’s rulings
 21    permitting DC to take discovery and deferring ruling defendants’ Rule 12 Motions
 22    and Motion to Strike. Docket No. 134; Appellate Case No. 10-73851, Docket No.
 23    1-3. In their writ, defendants asked the Ninth Circuit to “direct the district court to:
 24    (1) vacate its orders of November 16 and 24, 2010; (2) reinstate, promptly set for
 25    hearing and decide Defendants’ dispositive motions; and (3) stay discovery until
 26    Decembers’ anti-SLAPP motion is decided absent a showing of particularized need
 27    by DC.” Appellate Case No. 10-73851, Docket No. 1-3 at 30. On December 20, as
 28
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   1   part of its writ proceeding, defendants filed an “urgent” motion to stay discovery in
   2   the district court pending resolution of their writ petition. Id. Docket No. 5-1.
   3         79.    DC filed its opposition to defendants’ Ninth Circuit stay motion and its
   4   motion to dismiss defendants’ second appeal, filed December 23 and 30,
   5   respectively. Appellate Case No. 10-73851, Docket No. 6-1; Appellate Case No.
   6   10-56980, Docket No. 4-1.
   7         80.    On January 4, 2011, the Ninth Circuit again issued an order for
   8   defendants to “move for voluntary dismissal of the appeal or show cause why it
   9   should not be dismissed for lack of jurisdiction.” Appellate Case No. 10-56980,
 10    Docket No. 6.
 11          81.    The Ninth Circuit rejected defendants’ arguments for a stay of
 12    discovery and dismissed their writ petition and accompanying stay motion on
 13    January 7. Appellate Case. No. 10-73851, Docket No. 13. Defendants’ second
 14    appeal was dismissed on January 19. Appellate Case No. 10-56980, Docket No.
 15    13.
 16          82.    On January 14, 2011, defendants unilaterally re-filed their Rule 12
 17    Motions and Motion to Strike and set them for hearing on February 14. Docket
 18    Nos. 145-148.
 19          D.     DC’s Second Motion to Compel Siegel and Shuster Defendants
 20          83.    In mid-December 2010, the Siegel and Shuster heirs produced
 21    documents and privilege logs, as required by this Court’s December 7 order.
 22    Docket Nos. 162-2, 162-5-162-7. DC again disputed the completeness of
 23    defendants’ responses; after meeting and conferring, DC filed a motion to compel
 24    the production of documents and privilege logs from the Siegel and Shuster
 25    defendants on February 8. Docket No. 160.
 26          84.    On February 11, this Court vacated the February 14 hearing on
 27    defendants’ Rule 12 Motions and Motion to Strike. Docket No. 169. On March 9,
 28    the Court issued an order “request[ing] that the parties file anew their respective
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   1   [Rule 12 and Motion to Strike] briefs, specifically identifying which brief
   2   corresponds to which motion. Plaintiffs’ oppositions shall be filed on or before
   3   March 21, 2001 and Defendants’ replies on or before March 30, 2011.” Docket
   4   No. 179. Both DC and defendants filed their renewed oppositions and replies as
   5   instructed. Docket Nos. 181, 184-86, 191-92, 195-96.
   6         85.     In an order dated April 11, 2011, Magistrate Zarefsky ruled on DC’s
   7   motion to compel:
   8               a. Denied DC’s request for production of the 2008 consent agreement by
   9                  applying the “law of the case” doctrine. Docket No. 209 at 8-10.
 10                b. Granted DC’s request for production of defendants’ retainer
 11                   agreements, subject to redaction by defendants. Id. at 11.
 12                c. Denied DC’s request for production of the July 11, 2003, letter from
 13                   Ms. Larson to Mr. Siegel. While describing defendants’ as being
 14                   “cryptic about this letter,” the Court held that defendants’ privilege
 15                   assertions over the letter were upheld in the Siegel case, and that ruling
 16                   would not be reconsidered. Id. at 11.
 17                d. Granted DC’s request that defendants produce for in camera review 11
 18                   identified documents between counsel for Mr. Siegel and Mr.
 19                   Toberoff. Id. at 11.
 20                e. Denied DC’s request for production of the July 5, 2003, letter from Ms.
 21                   Larson to Mr. Siegel, relying on defendants’ representation that the
 22                   documents does not exist. Since defendants provided no response
 23                   regarding the May 13, 2003, letter, the Court ordered defendants to
 24                   “either (a) produce it to [DC]; or (b) submit a verified further response
 25                   to [DC] indicating that it does not exist or, if it already has been
 26                   produced, identifying it by Bates number or other identifying mark.”
 27                   Id. at 12.
 28
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   1               f. Granted DC’s request for production of documents related to
   2                  communications between Ms. Larson and Dennis Larson starting in
   3                  January 2000. Id. at 12-13.
   4               g. Denied DC’s request that defendants be ordered to amend their
   5                  privilege logs. Id. at 13.
   6         86.     Magistrate Zarefsky’s April 11 ruling, however, has been and
   7   continues to be subject to further examination and possible reconsideration based
   8   on discovery obtained from defendants since the order issued.
   9                  1.    2008 Consent Agreements
 10          87.     Magistrate Zarefsky stated in his April order that the legality of the
 11    consent agreement cannot be determined “with certainty … without seeing the
 12    agreement.” Id. at 8. Given Mr. Peary’s testimony—after the Magistrate’s
 13    ruling—that the consent agreement remains in effect and precludes the Shusters
 14    from entering into an agreement with DC without the consent of the Siegels, DC is
 15    currently pursuing discovery to determine the substance of the consent agreement.
 16                         2.     July 2003 Correspondence
 17          88.     On April 18, pursuant to the Magistrate’s April 11 order, defendants
 18    produced a May 13, 2003, letter from Mr. Siegel to Ms. Larson. Docket No. 225-4.
 19          89.     The May 13 letter states:
 20                                         Michael Siegel
 21                                     3605 Bendemeer Rd.
                                    Cleveland Heights, Ohio 44118
 22                                                                         May 13, 2003
             Dear Laura,
 23
                   Thank you for your letter of November 2 of last year. I would
 24          have written sooner but I have endured much sadness. My mother
 25          passed away last year and I am particularly saddened by her not having
             been able to enjoy some of the money due us from DC Comics and
 26          Time Warner.
 27               I really wish to discuss Marc Toberoff. I learned from Marks
 28          and Rammer that Marc was the attorney on record for the Shuster half

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   1        of the Superman copyright, has Marc ever informed you of this? Now
            that you have signed with him, he is in control of the whole Superman
   2        copyright. I told you when he first contacted me, he wanted to buy my
   3        share of the copyright. Marc had a mysterious billionaire who wanted
            to invest in the Superman copyright, put 15 million dollars up front
   4        plus participation. When you signed with Marc the billionaire invested
            elsewhere. Marc has his own production company, he was going to
   5        team with Emmanuel and make a movie. This has not happened. You
            mentioned Marc had a number of innovative, proactive ideas that
   6        could bring all members of the Siegel interest both justice and many
   7        times more than the amount DC’s representatives wanted to throw our
            way to get rid of us. Marc has chosen not to open any dialog with
   8        Time Warner or anyone else. How can he negotiate a contact if he is
            not talking to anyone?
   9
 10                Marc is now the attorney for the entire Superman copyright. In
            2013 under the Sunny Bono law Marc will be able to take the
 11         Superman copyright from Time Warner. Has he told you this? Do
            you know who owns the Shuster interest in the Superman copyright?
 12         Has Marc bought the Shuster interest himself? For a long time now,
            Marks and Rammer said there should be a united Siegel front. Marc is
 13         not negotiating with anyone, but he has found someone willing to buy
 14         me out. How can he find someone to buy me out and not negotiate for
            the entire Siegel interest? Has Marc offered to find someone to buy
 15         your interest? If I would sell my interest it would leave you with less
            than half of the Superman copyright and not all of the Siegel interest in
 16         the Superman copyright. This would weaken your position? The
 17         amount Marc’s investor is offering is less than half of what DC
            showed as my share. There is a very real possibility I will contact
 18         Time Warner and see if they will buy me out. Marc seems to have an
            agenda of someone buying me out so I will have to look for the best
 19         deal I can get. Marc is really pressing for an answer to the offer his
            investor made.
 20
 21                Am I missing something? Is it Joanne’s and your intention to do
            nothing? You have filed letters of Termination on Superman and The
 22         Spectre, have any other letters of Termination been filed or will there
            by more? Regarding an old item, I would very much appreciate the
 23         release of the funds I understand are being held in escrow for me by
 24         Marc. If it turns out that we have no disagreement regarding your
            expenses and too much money was released, that certainly can be dealt
 25         with quickly. Last week a package of documents arrived from Marc.
            Don and I have not had time to review them yet.
 26
                   This procedure has taken way too long. I have been on contract
 27         negotiation teams and have never seen anything like this. Your
 28         attorneys have chosen not to have any dialog with the other side for
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   1          years at a time. I want a united Siegel interest, but I might be forced to
              act on my own. I do have something to sell independently, Marc’s
   2          actions prove this.
   3
                      I hope your health is getting better and that your divorce is now
   4          over.
   5                  Sincerely,
   6          Michael
   7
   8   Docket No. 225-4 at 3.

   9          90.     In response to defendants’ production of the May 13 letter, and in order

 10    to obtain a copy of a letter that DC believed Laura Siegel Larson sent to Michael

 11    Siegel in response to his May 13 letter, DC filed a motion for review of the April 11

 12    order with the District Court and a motion for reconsideration with Magistrate

 13    Zarefsky. Docket Nos. 225, 253. The Court denied both motions. Docket No. 248,

 14    285.

 15           91.     Thereafter, Ms. Larson testified at her deposition that (1) she

 16    responded to Michael’s May 13 letter; (2) she gave correspondence between

 17    Michael Siegel and her to Mr. Toberoff; and (3) she has entire “boxes” full of

 18    documents that have never been reviewed. Ex. 24 at 63:17-65:4, 70:19-24, 242:25-

 19    248:2, 277:3- 281:14. Based on this new evidence, DC intends to initiate additional

 20    efforts to obtain Ms. Larson’s response to Michael’s letter and additional relevant

 21    documents that have yet to be produced.

 22           E.      DC’s Motions to Compel Toberoff Defendants Production of

 23                   Documents and Interrogatory Responses

 24           92.     In January 2011, a dispute arose regarding the Toberoff defendants’

 25    responses to DC’s document requests propounded in December 2010. On January

 26    24, defendants produced only one new document and re-served the same objections

 27    to DC’s document requests and privilege logs that led to DC’s motion to compel the

 28    Siegel and Shuster defendants. Docket No. 207-9. In addition, the Toberoff

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   1   defendants stated in January 24 interrogatory responses that, during the summer and
   2   fall of 2010, Toberoff conferred with prosecutors of the U.S. Attorney’s Office in
   3   Los Angeles regarding the circumstances surrounding the creation of the Toberoff
   4   Timeline, and that the USAO initiated a related grand jury investigation. Docket
   5   No. 162-14 at 599-600. Mr. Toberoff further noted that his attorneys sent the
   6   Toberoff Timeline, and documents enclosed therewith, to the USAO on September
   7   27, 2010. Id. at 608. Finally, Mr. Toberoff identified David Michaels as the
   8   purported author of the Toberoff Timeline, after months of DC requesting the
   9   information from defendants. Id. at 596.
 10          93.     After the parties were unable to come to an informal resolution, DC
 11    filed two motions to compel on April 4 seeking additional discovery responses,
 12    particularly with respect to the documents given to the USAO. Docket Nos. 205,
 13    206, 208.
 14          94.     In an order dated May 25, Magistrate Zarefsky ruled on the motion as
 15    follows:
 16                a. Granted DC’s request for production of the documents enclosed with
 17                   the Toberoff Timeline that defendants produced to the U.S. Attorney’s
 18                   Office. Following the majority rule among the federal circuits,
 19                   Magistrate Zarefsky found that defendants waived any attorney-client
 20                   privileges by disclosing the documents to the government and there
 21                   was “no merit to Defendants’ argument that they enjoyed a joint
 22                   prosecution privilege with the United States.” He stayed this part of
 23                   the order subject to defendants’ seeking review. Docket No. 262 at 2-
 24                   4.
 25                b. Denied DC’s requests for production of the communications involving
 26                   David Michaels. Id. at 4.
 27                c. Denied DC’s request for production of documents relating to Mr.
 28                   Marks’ October 4, 2010, declaration. Id. at 4-5.
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   1               d. Denied DC’s request to overrule defendants’ boilerplate objections to
   2                  every document request. Magistrate Zarefsky stated that “this issue
   3                  suffers greatly from the fact that the parties have not prepared a Joint
   4                  Stipulation,” and “[t]he Court is loath to issue a blanket order, without
   5                  understanding the particular requests and the particular objections.”
   6                  Id. at 5.
   7               e. Denied DC’s requests for more complete answers to Interrogatory
   8                  Numbers 9, 13-15, and 17-18. Id. at 6.
   9         F.      DC’s Motion to Compel the Further Production of Documents
 10          95.     In response to the documents DC received from defendants on April
 11    18, pursuant to the Court’s April 11 order, DC filed a motion to compel the further
 12    production of documents on May 27. DC requested an order compelling
 13    defendants to: (1) “conduct a diligent search of all records and files in their
 14    possession, custody, or control; produce forthwith all responsive documents not
 15    previously provided; and explain how and when specific missing documents were
 16    lost or destroyed; (2) production of the November 2, 2002, letter from Ms. Larson
 17    to Mr. Siegel; (3) produce an unredacted version of the May 13, 2003, letter from
 18    Mr. Siegel to Ms. Larson; and (4) provide unredacted versions of the Siegel and
 19    Shuster retainer agreements for in camera review. Docket No. 267-1. Magistrate
 20    Zarefsky denied DC’s motion on June 20. Docket No. 288 at 44:21.
 21          G.       August 8 Deadline For DC To Supplement SLAPP Opposition
 22          96.     DC filed a brief report on May 26 apprising the Court of the status of
 23    discovery relevant to the pending Motion to Strike, among other issues. DC said it
 24    intended to seek leave to supplement its initial opposition with evidence since
 25    obtained in discovery. Docket No. 263. In response to DC’s status report, on June
 26    1 the Court vacated the opposition and reply briefing to defendants’ Rule 12
 27    Motions and Motion to Strike, and ordered DC to file updated oppositions on
 28
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   1   August 8, followed by defendants’ updated replies. The Court said it would not
   2   permit further supplemental filings. Docket No. 270.
   3         97.    Defendants moved for reconsideration of the Court’s June 1 order as to
   4   the portion striking the opposition and reply briefing concerning their Rule 12
   5   Motions. Docket No. 282. The Court granted defendants’ motion and limited DC’s
   6   updated opposition to the pending Motion to Strike. Docket No. 292.
   7         98.    On July 11, defendants filed, a motion seeking to refer the dispositive
   8   motions to Magistrate Zarefsky for a report and recommendation. Docket No. 293.
   9   This Court denied defendants’ motion on July 13. Docket No. 294.
 10          H.     Defendants’ Writ Petition Regarding the Toberoff Timeline
 11                 Documents
 12          99.    When Magistrate Zarefsky issued his May 25 order compelling
 13    defendants to produce the documents they shared with the USAO, including the
 14    documents enclosed with the Toberoff Timeline, he stayed his ruling “to allow
 15    Defendants to seek review before the District Judge. If the Defendants seek such
 16    review, the stay shall continue in effect until all review is exhausted of the District
 17    Judge rules to the contrary on the matter.” Docket No. 262 at 4. On June 27, 2011,
 18    in response to DC’s application, the Magistrate clarified that this stay extends to
 19    defendants’ pending writ proceedings. Docket No. 287 at 3.
 20          100. On June 7, defendants filed a motion for review of the May 25 order,
 21    Docket No. 276, which this Court denied. Docket No. 279.
 22          101. On June 30, 2011, defendants filed another interlocutory appeal,
 23    petitioning the Ninth Circuit for a writ of mandamus to overturn Magistrate
 24    Zarefsky’s May 25 ruling that defendants waived privilege as to the documents
 25    shared with the USAO. Appellate Case No. 11-71844, Docket No. 1-1. At present,
 26    the Ninth Circuit has issued no rulings with respect to defendants’ petition.
 27          102. Given the importance of the documents and the desire of witnesses to
 28    avoid multiple deposition sessions, DC has temporarily deferred the depositions of
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   1   key witnesses, including Toberoff, Kevin Marks, and David Michaels pending a
   2   ruling on defendants’ writ petition. If a ruling is not issued within another 30 days,
   3   DC will have no choice but to commence the remaining depositions and seek to
   4   compete them if and when the documents become available.
   5         I.    Depositions of Laura Siegel Larson and Mark Warren Peary
   6         103. On May 11, one week before Mr. Peary’s May 18 deposition,
   7   defendants sent a letter stating that his deposition, along with Ms. Peary’s that was
   8   scheduled for May 20, should be postponed due to DC’s pending discovery
   9   motions. Docket No. 254-6. Although no agreement was reached to postpone the
 10    depositions, neither defendant appeared. See Docket 254-10.
 11          104. On May 23, DC sought ex parte relief to compel the appearance of
 12    Mr. Peary and Ms. Larson. Docket No. 254. The next day, defendants agreed to a
 13    stipulation setting Mr. Peary’s deposition for June 29 and Ms. Larson’s for July 1.
 14    Docket No. 260. Magistrate Zarefsky issued an order adopting this proposed
 15    timeframe on June 1. Docket No. 270.
 16          105. On June 13, defendants filed a motion for protective order requesting
 17    that the Court postpone the depositions “in tandem with the stay under the May 25
 18    Order; i.e., until seven days (7) ‘after review of this Court’s May 25 Order is
 19    exhausted or the District Judge rules to the contrary on the matter.” Docket No.
 20    278-1. Magistrate Zarefsky denied defendants’ motion. Docket No. 285.
 21          106. On June 29, 2011, I took the deposition of Mr. Peary, the first
 22    deposition to be taken in this case. Ex. 37. Because of numerous privilege
 23    objections and instructions, DC is in the process of meeting and conferring in
 24    support of a motion to compel additional testimony. Attached hereto as Exhibit 43
 25    is a true and correct copy of a letter from D. Petrocelli to Mr. Toberoff dated July
 26    11, 2011.
 27          107. Ms. Larson was deposed on July 21. Ex. 24. Because of numerous
 28    privilege objections and instructions at her deposition, DC anticipates a motion to
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   1   compel may be necessary to obtain additional testimony as well as documents. See
   2   Docket No. 301-2.
   3         J.     DC’s Three Motions to Compel
   4         108. On August 8, Magistrate Zarefsky heard DC’s three motions to compel
   5   the production of: (1) all communications between defendants and the U.S.
   6   Attorney’s office concerning the Toberoff Timeline; (2) all copies of the May 13,
   7   2003, letter from Mr. Siegel to Ms. Larson, including the “Q” Bates stamped
   8   versions; and (3) documents relating to the Siegels’ Superman rights contained in
   9   Laura Siegel Larson’s divorce files. Docket Nos. 296-1, 297-1, 298-1. Magistrate
 10    Zarefsky granted DC’s motion to compel the production of the USAO
 11    communications, though stayed the order pending defendants’ Ninth Circuit writ
 12    petition, and denied DC’s other two motions.
 13          K.     DC’s Requests for Production of Documents
 14          109. In light of Magistrate Zarefsky’s May 25 order, DC has conferred with
 15    defendants on narrowing the scope of various pending requests to avoid objection
 16    and cause defendants to produce al responsive documents. DC sent defendants a
 17    letter on June proposing revised versions of the requests, Docket No. 298-4,
 18    followed by a 30-page letter on July 7. Attached hereto as Exhibit 44 is a true and
 19    correct copy of a letter from Mr. Kline to Mr. Toberoff dated July 7, 2011.
 20          110. The Toberoff defendants’ latest production includes documents
 21    relevant to DC’s claims and its oppositions to defendants Rule 12 Motions and
 22    Motion to Strike:
 23          • Defendants produced corporate formation documents for defendants
 24               Pacific Pictures Corporation, IP Worldwide LLC, and IPW, LLC, true and
 25               correct copies of which are attached hereto as Exhibit 46. These
 26               documents show that defendant IP Worldwide LLC’s stated business
 27               purpose is “entertainment and media,” not the provision of legal services.
 28
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   1              None of the documents mentions of the companies being engaged in the
   2              practice of law.
   3         • Defendant IP Worldwide produced a March 29, 2004, letter from Mr.
   4              Toberoff to Ms. Siegel and Ms. Larson, which “confirm[s]” their
   5              understanding that the 2002 IPW Agreement “is reinstated and that the
   6              Term of the Agreement is extended until April 23, 2005.” Id. at 1598.
   7              This agreement shows that the separate business relationship between Mr.
   8              Toberoff and the Siegels continued through 2005.
   9         L.     Don Bulson Deposition
 10          111. DC took the deposition of Don Bulson, who was counsel for Michael
 11    Siegel. Michael passed away in 2006. Prior to Mr. Bulson’s deposition on July 19,
 12    DC was advised by counsel for Mr. Bulson that he would not be producing certain
 13    documents in response to DC’s requests at the instruction of Mr. Toberoff.
 14    Attached hereto as Exhibit 48 is a true and correct copy of a letter from Joshua
 15    Ryland to Matthew T. Kline dated July 15, 2011.
 16          112. Several disputes arose during Mr. Bulson’s deposition, so on August 3,
 17    DC sent Mr. Toberoff and Gerald Berk, attorney for the Estate of Michael Siegel, a
 18    letter requesting a meet and confer concerning those issues. In the letter, DC: (1)
 19    addressed Mr. Berk’s refusal to allow Mr. Bulson to answer questions regarding
 20    non-privileged documents or information conveyed to Mr. Bulson by Mr. Siegel;
 21    (2) requested production of non-privileged portions of calendars and billings entries
 22    maintained by Mr. Bulson, in addition to an expert report submitted by Renner Otto
 23    in the litigation against the Michael Siegel Estate; and (3) proposed a method for
 24    logging documents located in Renner Otto’s digital copy of the Michael Siegel file.
 25    DC is awaiting a response.
 26          M.     Toberoff Corporate Defendants’ Interrogatory Responses
 27          113. Defendants Pacific Pictures Corporation, IP Worldwide LLC, and
 28    IPW, LLC responded on August 1 to DC’s first set of interrogatories to each
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   1   company. The responses state that none of the companies made efforts to market
   2   the Siegels’ or Shusters’ purported rights in the Superman termination. Attached
   3   hereto as Exhibit 49 are true and correct copies of the companies’ interrogatory
   4   responses. From documents produced, DC is aware that Mr. Toberoff
   5   communicated with Paramount Pictures and Fox concerning the Siegels’ and
   6   Shusters’ termination rights, and has served Mr. Toberoff with additional
   7   interrogatories to clarify defendants’ prior responses. Attached hereto as Exhibit 50
   8   is a true and correct copy of a letter from Mr. Kline to Mr. Toberoff dated August 3,
   9   2011, with enclosures.
 10    III.     Remaining Discovery
 11             114. DC has acted diligently in seeking to take the discovery necessary to
 12    properly oppose defendants’ Motion to Strike. However, as described above,
 13    several discovery issues remain unresolved.
 14             115. DC plans to depose Mr. Toberoff, the Rule 30(b)(6) designees for the
 15    defendant entities, the author of the Toberoff Timeline, and Ari Emanuel, among
 16    others
 17             116. DC plans to serve requests for production of non-privileged documents
 18    on certain third parties, including David Michaels, the author of the Toberoff
 19    Timeline; representatives of Michael Siegel’s Estate; Arthur Levine, prior counsel
 20    to the Siegel heirs who prepared and served the 1997 Superman termination notice;
 21    and George Zadorozny, among others.
 22             117. DC also anticipates propounding additional interrogatories and
 23    requests for production as the need arises, including with respect to any issues
 24    crystallized by the pending discovery motions described above.
 25             118. Resolution of DC’s pending and intended discovery motions may
 26    necessitate further deposition testimony from Ms. Larson, Mr. Peary, and Ms.
 27    Peavy. DC will address those issues as they arise.
 28
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   1   IV.   Defendants’ Factual Assertions Requiring Discovery
   2         119. Defendants’ Motion to Strike contains a number of factual assertions
   3   and characterizations regarding DC’s state-law claims in its fourth, fifth, and sixth
   4   claims for relief. Because of the factual issues raised by defendants’ Motion to
   5   Strike, DC requires discovery to respond. I have identified below certain factual
   6   areas where discovery is still required to oppose defendants’ Motion to Strike.
   7         120. Attached as Appendix A to this declaration is a chart identifying
   8   contested fact assertions in defendants’ Motion to Strike, certain discovery obtained
   9   by DC thus far, and key discovery DC is pursuing.
 10    1. Shuster Agreements
 11                 a.    The circumstances leading to formation of the 1992 Agreement
 12                       between DC and the Shusters;

 13                 b.    The contractual intent of the parties to the 1992 Agreement;
 14                 c.    The Toberoff defendants’ knowledge of the 1992 Agreement;
 15                 d.    The nature and extent of DC’s relationship with the Shusters;
 16                 e.    The circumstances surrounding the Toberoff defendants’ initial
                          contract with the Shusters, and the timing, nature, and extent of
 17                       their subsequent contracts;
 18
                    f.    The circumstances leading to formation of the 2001 PPC
 19                       Agreement between PPC and the Shusters;
 20                 g.    The nature, intent, and effect of a provision in the 2001 PPC
                          Agreement stating that the Shusters could not enter into any
 21                       agreement regarding their putative rights “without the express
 22                       written consent” of PPC;

 23                 h.    The relationship, if any, of the 2001 PPC Agreement to
                          anticipated or actual litigation;
 24
                    i.    The nature, intent, and effect of a provision in the 2001 PPC
 25                       Agreement identifying “Superboy” as among the Shusters’
                          putative rights;
 26
 27                 j.    The current status and effect of the 2001 PPC Agreement;

 28
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   1              k.    The circumstances surrounding the formation of an attorney-
                        client relationship between Toberoff and the Shusters;
   2
                  l.    The circumstances leading to formation of the 2003 PPC
   3                    Agreement;
   4
                  m.    The circumstances surrounding and nature, intent, and effect of
   5                    a provision in the 2003 PPC Agreement stating that the Shusters
                        could not enter into any agreement regarding their putative
   6                    rights “without the express written consent” of PPC, Ex. 55 ¶ 4;
   7              n.    The nature, intent, and effect of the 2003 PPC Agreement’s
   8                    deletion of “Superboy” from a list of the Shusters’ putative
                        rights, id. ¶ 1;
   9
                  o.    The current status and effect of the 2003 PPC Agreement;
 10
                  p.    The circumstances leading to the September 10, 2004 letter
 11                     providing that the 2001 and 2003 PPC Agreements “have been
                        cancelled,” Docket No. 163-7;
 12
 13               q.    The nature, intent, and effect of the “cancellation” language in
                        the September 10, 2004 letter;
 14
                  r.    The Toberoff defendants’ current interest in PPC; and
 15
                  s.    Whether and to what extent any of the Toberoff defendants’
 16                     contacts with the Shusters occurred in connection with
                        anticipated litigation.
 17
 18    2. Siegel Agreements
 19               a.    The circumstances surrounding the Siegels’ identification of
 20                     Superboy as among the “character[s], story element[s], or
                        indicia reasonably associated with SUPERMAN” in their 1997
 21                     copyright termination notice, Docket No. 293;
 22               b.    The nature, intent, and effect of the Siegels’ October 19, 2001
                        letter to DC stating that the Siegels “accepted D.C. Comics’
 23                     offer of October 16, 2001,” Ex. 15;
 24
                  c.    The circumstances leading to Joanne Siegel’s May 9, 2002 letter
 25                     to DC regarding the long-form document;
 26               d.    The circumstances surrounding Marks’ statement “that he would
                        testify in court against the Siegels if they accepted [Toberoff’s]
 27                     offer because he believes there has already been an agreement
 28                     reached,” as described in the Toberoff Timeline, FAC Ex. A 63;

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   1              e.   The nature and extent of DC Comics’ relationship with the
                       Siegels;
   2
                  f.   The circumstances surrounding the Toberoff defendants’ initial
   3                   contact with the Siegels, and the timing, nature, and extent of
   4                   their subsequent contacts;
   5              g.   The circumstances surrounding the formation of IP Worldwide,
                       LLC between PPC, talent agent Ari Emanuel, and the Endeavor
   6                   talent agency;
   7              h.   Whether and to what extent any of the Toberoff defendants’
   8                   contacts with the Siegels occurred in connection with
                       anticipated litigation;
   9
                  i.   The nature, intent, and effect of the Siegels’ September 21, 2002
 10                    letter to DC providing: “effective immediately, we are totally
                       stopping and ending negotiations with DC Comics,” Ex. 23;
 11
                  j.   The circumstances leading to formation of the IP Worldwide
 12                    Agreement between the Siegels and IP Worldwide;
 13
                  k.   The nature, intent, and effect of the provision in the IP
 14                    Worldwide Agreement that the Siegels could “not transfer,
                       assign, license or in any manner encumber the Rights … other
 15                    than through or as a result of IPW’s exclusive representation
                       hereunder....” Ex. 56 ¶ 8;
 16
 17               l.   The current status and effect of the IP Worldwide Agreement;

 18               m.   The Toberoff defendants’ current interest in IP Worldwide and
                       IPW;
 19
                  n.   The circumstances surrounding the formation of an attorney-
 20                    client relationship between Toberoff and the Siegels;
 21               o.   The circumstances surrounding the Siegels’ 2002 notice of
 22                    termination claiming sole ownership of alleged Superboy rights,
                       including communications with the Shusters and others
 23
                  p.   The circumstances surrounding IP Worldwide’s efforts to
 24                    acquire Michael Siegel’s interest in the Superman termination
                       notice;
 25
                  q.   The circumstances surrounding the agreements between the
 26                    Siegels and IP Worldwide concerning its efforts to acquire
 27                    Michael Siegel’s interest in the Superman termination;
 28
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   1              r.   Correspondence between Michael Siegel, Laura Siegel Larson,
                       and Joanne Siegel concerning the Superman termination notice
   2                   and the Siegels’ involvement with Mr. Toberoff, Mr. Emanuel,
   3                   and IP Worldwide; and

   4              s.   The events described in the Toberoff Timeline.
   5   3. Consent Agreements
   6
                  a.   The existence and status of any agreements between or among
   7                   defendants restricting the ability of the Shusters or Siegels to
                       freely negotiate or enter into agreements with DC;
   8
                  b.   The circumstances leading to the formation of any such
   9                   agreements;
 10
                  c.   The nature, intent, and effect of any such agreements;
 11
                  d.   The existence and status of any agreements between or among
 12                    Toberoff and/or his companies and the Siegels, including
                       retainer agreements, joint-venture agreements, partnership
 13                    agreements, or any other business agreements;
 14               e.   The existence and status of any agreements between or among
 15                    Toberoff and/or his companies and the Shusters, including
                       retainer agreements, joint-venture agreements, partnership
 16                    agreements, or any other business agreements;
 17               f.   The existence and status of any agreements between the Siegels
                       and Shusters regarding the division of proceeds in the Superman
 18                    and Superboy asserted rights;
 19
                  g.   The existence and status of any agreements between the Siegels
 20                    and Shusters regarding their putative Superman and Superboy
                       interests;
 21
                  h.   The existence and status of any agreements between the
 22                    Toberoff defendants and other entities or third parties, regarding
 23                    Superman or Superboy; and

 24               i.   The circumstances surrounding the Siegels’ and Shusters’
                       efforts to negotiate with third parties for the sale of their
 25                    purported Superman and Superboy interests.
 26
 27
 28
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   1         121. In the event the court does not deny defendants’ motion to strike in its
   2   entirety, I believe that the discovery described above is necessary to provide
   3   relevant evidence to fully and fairly oppose the motion.
   4         122. DC therefore requests that the Court deny defendants’ Motion to Strike
   5   in its entirety or, alternatively, issue an order staying any resolution of defendants’
   6   Motion to Strike pending the close of discovery.
   7   V.    Deposition Transcripts & Various Exhibits
   8         123. To avoid any claims that it is selectively excerpting deposition
   9   testimony, DC has attached full and complete deposition transcripts.
 10          124. The deposition of Kevin Marks, the Siegels’ attorney prior to
 11    Mr. Toberoff, was taken in the related Siegel cases, Case Nos. CV-04-8400 and
 12    CV-04-8776, on October 7, 2006. A true and correct copy of the entire transcript
 13    from the deposition is attached hereto as Exhibit 14.
 14          125. The deposition of defendant Mr. Peary was taken in the related Siegel
 15    cases on November 11, 2006. A true and correct copy of the entire transcript from
 16    the deposition is attached hereto as Exhibit 51.
 17          126. The deposition of defendant Marc Toberoff was taken in the related
 18    Siegel cases on November 17, 2006. A true and correct copy of the entire transcript
 19    from the deposition is attached hereto as Exhibit 17.
 20          127. The deposition of defendant Mark Warren Peary was taken in this case
 21    on June 29, 2011. A true and correct copy of the entire transcript from the
 22    deposition is attached hereto as Exhibit 37.
 23          128. The deposition of Don Bulson, attorney for Michael Siegel during his
 24    lifetime, was taken in this case on July 19, 2011. A true and correct copy of the
 25    entire transcript from the deposition is attached hereto as Exhibit 52. The transcript
 26    is still under review by Mr. Bulson under Federal Rule of Civil Procedure 30(e)(1),
 27    and Mr. Bulson and his counsel reserve all rights to (a) make changes under Rule
 28
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   1   30(e)(1) or (b) request further protection of Mr. Bulson’s testimony pursuant to any
   2   future protective order(s) entered by this or any other Court.
   3         129. The deposition of defendant Laura Siegel Larson was taken in this case
   4   on July 22, 2011. A true and correct copy of the entire transcript from the
   5   deposition is attached hereto as Exhibit 24.
   6         130. The deposition of Dawn Peavy, the daughter of defendant Jean Peavy
   7   and sister of defendant Mr. Peary, was taken in this case on August 3, 2011. A true
   8   and correct copy of the entire transcript from the deposition is attached hereto as
   9   Exhibit 53.
 10          131. Attached hereto as Exhibit 57 is a true and correct copy of an order
 11    issued by the Ninth Circuit in Appellate Case No. 10-73851, dated January 7, 2011.
 12          132. Attached hereto as Exhibit 58 is a true and correct copy of Exhibit 73
 13    to the deposition of Dawn Peavy.
 14          133. Attached hereto as Exhibit 59 is a true and correct copy of the
 15    November 11, 2006 deposition of Jean Peavy in the Siegel case.
 16          I declare under penalty of perjury under the laws of the United States that the
 17    foregoing is true and correct. Executed this 8th day of August 2011, at Los
 18    Angeles, California.
 19
 20                                                        /s/ Daniel M. Petrocelli
                                                             Daniel M. Petrocelli
 21
 22
 23
 24
 25
 26
 27
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   1                                      APPENDIX A
   2
   3   No.   Examples of Contested         Examples Of What                       Examples Of Key
             Factual Assertions In           Discovery Has                      Discovery DC Is Still
   4             Defendants’                   Revealed                          In The Process Of
                SLAPP Briefing                                                  Taking & Completing
   5
       1.    “DC’s contentions [in its    Admissions that the                   Peary testified that there
   6         Fourth and Sixth Claims]     Pacific Pictures                      are “drafts” of the
             that [the Pacific Pictures   agreements are not                    Pacific Pictures
   7         agreements] ‘violate’ the    valid:                                agreements. PD Ex. 37
             Copyright Act are            a. Peary admitted that                at 1209:7-11. These
   8         wrong.” Docket No. 196       the Pacific Pictures                  documents have not
             at 4 n.3.                    agreements “do not                    been produced. DC
   9                                      comply” with the                      will serve shortly a
                                          Copyright Act:                        motion to compel
 10                                                                             production of these
                                            Q. Are you aware that Mr.           drafts and all relevant
 11                                         Toberoff has stated in papers       correspondence (“RFP
                                            filed with the court that these     Motion to Compel”).
 12                                         Pacific Picture agreements          Id. ¶ 109-10.
                                            were void?
 13                                         A. Yes.
                                            …                                   DC has yet to depose
 14                                         Q. Are you aware that Mr.           key witnesses on this
                                            Toberoff has acknowledged           issue, including
 15                                         that the Pacific Pictures           Toberoff and Pacific
                                            agreements did not comply           Pictures.
 16                                         with the copyright laws?
                                            A. Yes.
 17                                          Decl. of Daniel M.
                                             Petrocelli (“PD”) Ex.
 18                                          37 at 1335:10-13;
                                             1337:1-11.
 19
                                          b. Defendants admitted
 20                                       in briefing that the
                                          Pacific Pictures
 21                                       agreements were “void
                                          ab initio”:
 22                                         “DC argues that two sets of
                                            agreements violate its
 23                                         supposed ‘right’: (1)
                                            agreements between
 24                                         defendant Pacific Pictures
                                            Corporation and the Shuster
 25                                         Executor (FAC, ¶ 169),
                                            which, as DC is aware, were
 26                                         cancelled six years ago (id., ¶
                                            99) and which were void ab
 27                                         initio under § 304(c)(6)(D) as
                                            elsewhere alleged in DC's
 28
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   1                                    FAC (id., ¶167)….”

   2                                    Docket No. 147-1 at
                                        2 (underlining
   3                                    added).
                                        “[T]he Pacific Pictures
   4                                    Agreements could not and did
                                        not transfer the Shuster
   5                                    Executor's termination rights
                                        or prospective termination
   6                                    interests. As such transfers
                                        were void ab initio, they also
   7                                    cannot support DC's ‘unclean
                                        hands’ claim.”
   8                                     Docket No. 191 at 8
   9                                     (underlining added).
                                      See also:
 10                                   c. Peary admitted that
 11                                      restrictions in the
                                         Pacific Pictures
 12                                      agreements are
                                         impermissible:
 13                                     Q. Did you think -- did you
                                        think that it was proper for
 14                                     lawyers to impose that -- to
                                        have such a -- an agreement
 15                                     with a client that the client
                                        can't settle without the
 16                                     lawyer's consent no matter
                                        how much the client wants to
 17                                     settle?
                                        A. At the time I didn't
 18                                     consider it unreasonable.
                                        …
 19                                     Q. Were you aware that it's
                                        not lawful for a lawyer to
 20                                     have such a -- an agreement
                                        with a client?
 21                                     A. Not at the time.
                                        Q. Have you since become
 22                                     aware of that?
                                        A. Yes.
 23                                     Q. When?
                                        A. Sometime 2003.
 24                                     Q. How?
                                        A. Discussions with Marc
 25                                     Toberoff.
 26                                     PD Ex. 37 at
                                        1326:16-22; 1327:5-
 27                                     13.
 28    2.   DC’s Fourth Claim fails   Deposition testimony in The RFP Motion to
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   1        in part because               this case confirms that            Compel will seek drafts
            defendants did not have a     the Shusters disclaimed            of Pacific Pictures
   2        scheme to park Superboy       any rights in Superboy.            agreements that Peary
            rights with the Siegels.      a. The 2001 Pacific                admits were created.
   3        a. “DC’s Fourth Claim         Pictures agreement
   4        alleges: … Toberoff           contained a reference to           DC will serve shortly a
            ‘manipulated’ the             the Shusters’ rights in            motion to compel Peary
   5        Shuster estate to not         Superboy, but the 2003             to respond to key lines
            claim rights in Superboy.     agreement removed that             of inquiry blocked by
   6        None of these allegations     reference:                         his counsel during
            pleads any fraud with           Q. Do you have [the 2001         deposition—including
   7        particularity, or, for that     Pacific Pictures Agreement]      questions concerning
            matter, any fraud at all.”      and you see the reference to     Superboy (“Peary
   8        Docket No. 145-1 at 4.          Superboy and Smallville?         Motion to Compel”).
            b. “As to Superboy              What paragraph is it             See PD ¶ 106. As one
   9        (Opp. at 5), a court had        contained in [the 2001 Pacific   example:
            already ruled that Siegel       Pictures Agreement]?
                                                                               Q. And in paragraph 1 of [the
 10         created it                      A. 1.
                                                                               2003 Pacific Pictures
            independently.” Id. at 4        Q. And in paragraph 1 of
                                                                               agreement] there's no
 11         n.3.                            [the 2003 Pacific Pictures
                                                                               reference to Superboy or
                                            agreement] there's no
                                                                               Smallville. Is that correct?
 12                                         reference to Superboy or
                                            Smallville. Is that correct?       A. Yes.
 13                                         A. Yes.
                                                                               Q. Okay. And that was the
 14                                          PD Ex. 37 at 1391:5-              result of the advice given to
                                             12.                               you that the Shuster estate
                                                                               had no interest in Superboy?
 15                                       b. Peary was not made
                                          aware of all of the                  MR. TOBEROFF: I instruct
 16                                       evidence establishing                you not to answer….
                                          Joe Shuster’s                        Q. When you signed this,
 17                                       contributions to                     you understood that Superboy
                                          Superboy, including:                 was not part of the agreement,
 18                                       • The 1940 Superboy                  correct?
 19                                         script that the Siegels            MR. TOBEROFF: Instruct
                                            claim establish their              you not to answer….
 20                                         rights in Superboy—
                                            and includes                       PD Ex. 37 at 1391:9-
 21                                         Shuster’s name in the              25.
                                            by-line:
 22                                         Q. At the time that Mr.
                                                                             DC also intends to serve
                                            Toberoff gave you advice that
 23                                         the estate had no claim to
                                                                             a motion to compel
                                            Superboy, did Mr. Toberoff
                                                                             Larson to respond to
 24                                         show you Exhibit 15?
                                                                             questions barred by her
                                            … 15 is a 1940 Superboy
                                                                             counsel during
 25                                         script.
                                                                             deposition—including
                                            Q. Have you seen this
                                                                             questions concerning
 26                                         document before?
                                                                             Superboy (“Motion to
                                            A. No, I don't think so.
                                                                             Compel Larson
 27                                         Q. Okay. And so I take it
                                                                             Testimony”). See PD ¶
                                            from your answer that prior
                                                                             107. For example:
 28                                         to serving the notice of           Q. Does the consent

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   1                                   termination, Exhibit 14, you        agreement that you signed
                                       were not aware of this              with the Shusters make any
   2                                   document. Is that correct?          reference at all to Superboy?
                                       A. Yes.
                                                                           MR. TOBEROFF: I instruct
   3                                   Id. at 1405:22-                     you not to answer….
   4                                   1406:10.                            PD Ex. 24 at 760:20-
                                       Were you aware of the               25.
   5                                   existence of this script by
                                       which Joe Shuster was
   6                                   identified as one of the two      Defendants have been
                                       by-line people?                   ordered to turn over
   7                                   …                                 documents originally
                                       THE WITNESS: I haven't            enclosed with the
   8                                   seen this before.                 Toberoff Timeline
                                      Id. at 1406:18-22.                 (“Timeline
   9                                                                     Documents”), which
                                    • More Fun Comics                    discuss the relationships
 10                                   No. 101, which                     between and among
                                      Shuster helped                     Toberoff, the Siegels,
 11                                   illustrate and the                 and the Shusters. PD ¶¶
                                      Siegels claim                      92-94; Docket No. 262
 12                                   contains the first                 at 2-4. Defendants will
                                      appearance of                      not produce the
 13                                   Superboy:                          Timeline Documents
                                       Q. Do you have Exhibit 16?
                                                                         until the Ninth Circuit
 14                                    Prior to serving the notice of
                                                                         has ruled on their
                                       termination, Exhibit 14, were
                                                                         pending writ petition. I
 15                                    you aware of Exhibit 16?
                                                                         ¶¶ 99-102.
                                       Exhibit 16 is More -- a copy
 16                                    of parts of More Fun Comics
                                       number 101.
                                                                         DC has yet to depose
 17                                    A. Are you asking me if I've
                                                                         key witnesses on this
                                       ever seen this before?
                                                                         issue, including
 18                                    Q. Yes.
                                                                         Toberoff, Pacific
                                       A. I don't recognize this first
                                                                         Pictures, IP Worldwide,
 19                                    page specifically showing
                                                                         IPW, and Ari Emanuel.
                                       Superboy, no.
 20                                    Q. You're referring to page --
                                       the second page of this
 21                                    exhibit --
                                       A. Yes.
 22                                    Q. -- that has the picture of
                                       Superboy on it?
 23                                    A. Yes.
 24                                   Id. at 1407:5-19.
 25                                 • Copyright renewal
                                      notices for Superboy
 26                                   from the 1970s
                                      listing Joe Shuster
 27                                   and Jerry Siegel as
                                      co-creators and co-
 28                                   authors of Superboy:
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   1                                   Q. Okay. Take a look at
                                       Exhibit 17. Do you see the
   2                                   reference -- I'll represent to
                                       you this is a listing of the
   3                                   copyright renewal
                                       registrations and do you see
   4                                   the name Joe Shuster?
                                       …
   5                                   Q. It says "Superboy by
                                       Jerome Siegel and Joe
   6                                   Shuster in More Fun Comics,
                                       January to February 1945,"
   7                                   copyright sign, "18
                                       November 1944, Jerome
   8                                   Siegel and Joe Shuster" and
                                       then there's some other --
   9                                   other data. Were you aware
                                       of such copyright registration
 10                                    filings when you agreed to
                                       remove Superboy from your
 11                                    joint venture agreement?
                                       A. No.
 12                                    Q. When you served the
                                       termination notice without
 13                                    reference to Superboy?
                                       A. No.
 14                                    Q. Did Mr. Toberoff provide
                                       these -- any of these
 15                                    documents to you, Exhibits
                                       15, 16 and 17 that I've just
 16                                    gone through with you?
                                       A. I don’t believe so.
 17                                    Id. at 1409:18-
 18                                    1411:1.
                                    See also:
 19                                 d. Judge Larson
 20                                 discussed evidence that
                                    Joe Shuster was a co-
 21                                 creator of Superboy:
                                       [T]here are indications that,
 22                                    when Siegel created the
                                       Superboy submissions, he
 23                                    envisioned those submissions
                                       as part of a unitary comic
 24                                    strip incorporating Shuster’s
                                       artwork. The proposed script
 25                                    Siegel submitted for the
                                       Superboy comic itself, in the
 26                                    same way as all the other
                                       Siegel and Shuster comics
 27                                    were presented, contained the
                                       by-line crediting its
 28                                    authorship to ‘Jerry Siegel

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   1                                      and Joe Shuster.’ Such
                                          shared billing in Siegel’s
   2                                      submission is strong evidence
                                          of the intent to create a joint
   3                                      work.

   4                                      Case No. 04-8776,
                                          Docket No. 151 at
   5                                      56.
                                          Superboy’s appeal to the
   6                                      public was not only in
                                          reading the harrowing tales of
   7                                      the superhero’s exploits but
                                          also in the colorful imagery
   8                                      Shuster provided to grip the
                                          reader’s imagination. … This
   9                                      evidence also supports a
                                          conclusion that Superboy is a
 10                                       joint work.

 11                                       Id. at 56-57.
                                          [W]ere the Court to hold that
 12                                       Siegel alone is entitled to the
                                          copyright to and all the
 13                                       profits realized from
                                          Superboy because of
 14                                       Detective Comic’s ‘theft’
                                          from Shuster, the Court
 15                                       would be placing Siegel—the
                                          party whose copyright rights
 16                                       were unaffected by the
                                          publisher’s contract—in a
 17                                       superior position than that
                                          which even he envisioned to
 18                                       possess, all to the denigration
                                          of the contribution (and the
 19                                       rights thereto) Shuster
                                          supplied to the joint work.
 20                                       Id. at 62.
 21
       3.   DC’s Fifth Claim fails      The Siegels did not end             DC awaits production
 22         because the Siegels         settlement negotiations             of the Timeline
            ended settlement            with DC until                       Documents, including a
 23         negotiations with DC in     September 2002—after                letter from the Siegels’
            May 2002—before             Toberoff made a                     former counsel, Kevin
 24         Toberoff intervened.        proposal to the Siegels             Marks, which DC
            a. “The Fifth Claim has     via their lawyer.                   believes advised the
 25         no likelihood of success    a. Larson confirmed at              Siegels of Toberoff’s
            on the merits because the   her deposition that the             offer and that Marks
 26         record establishes that     Siegels did not cut off             might be required to
            Toberoff did not cause      negotiations with DC                testify that they had
 27         the Siegels to end          and Warner Bros. until              reached an agreement
            negotiations with DC.”      September 2002:                     with DC. PD ¶¶ 99-
 28                                                                         102.
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   1        Docket No. 145-1 at 22.        Q. You have Exhibit 56 in
                                           front of you which is the
   2        b. “[I]t is a matter of        letter that you and your
                                                                            The RFP Motion to
            record that prior to Mr.       mother sent to DC Comics
                                                                            Compel will seek drafts
   3        Toberoff’s first               dated September 21, 2002
                                                                            of agreements between
            substantive conversation       when you for the first time
                                                                            defendants, including a
   4        with Kevin Marks in            cutoff negotiations with
                                                                            July 2002 draft if a
            August 2002, Joanne            them; correct?
                                                                            settlement agreement
   5        Siegel had clearly stated      A. Yes.
                                                                            that Marks prepared
            in her May 9, 2002 letter      …
                                                                            after Joanne Siegel’s
   6        that ‘after four years, we     Q. The truth of the matter is
                                                                            May 2002 letter. Id. ¶¶
            have no deal and this          you did not cut off
                                                                            109-10.
   7        contract makes an              negotiations with Warner
            agreement impossible,’         Bros. until the date you sent
   8        obliterating the causal        your [September 21] letter
                                                                            DC will soon serve a
            prong of DC’s Fifth            correct?
                                                                            motion to compel
   9        Claim.” Docket No. 203         A. Correct.
                                                                            Larson to produce
            at 7.                          …
                                                                            documents that she
 10         c. There is “no evidence       Q. And again, you sent this --
                                                                            testified during
            that DC had any                this letter was sent by your
                                                                            deposition were in her
 11         ‘prospective economic          mother on May 9, 2002, but it
                                                                            possession but have not
            advantage’” after May          was not until September 21,
                                                                            yet been reviewed,
 12         2002. Id. at 23-24.            2002, that DC was informed
                                                                            including relevant, non-
                                           that negotiations were being
                                                                            privileged
 13                                        stopped; correct?
                                                                            correspondence
                                           A. Yes. I mean we -- you
                                                                            (“Motion to Compel
 14                                        know, by that time we
                                                                            Larson Documents”).
                                           reached our decision and that
                                                                            PD ¶ 107.
 15                                        was it.
                                           Q. By that time meaning
 16                                        September 21, 2002?
                                                                  DC intends to depose
                                                                  key witnesses on this
                                           A. By September 21, right.
 17                                        Q. 2002.
                                                                  issue, including Marks,
                                           A. 2002.
                                                                  Toberoff, Emanuel, IP
 18                                                               Worldwide, IPW, and
                                            PD Ex. 24 at 812:19- the author of the
 19                                         23; 867:17-20;        Toberoff Timeline (who
                                            929:20-930:4.         according to defendants
 20                                      b. Larson testified that is David Michaels).
                                         the Siegels received a
 21                                      letter from Marks with
                                         a proposal from
 22                                      Toberoff and Emanuel
                                         before they cut off
 23                                      negotiations in
                                         September 2002:
 24                                        Q. But you have already
                                           testified that what Mr. Marks
 25                                        told you is that these were
                                           two people who were calling
 26                                        about marketing the property;
                                           correct?
 27                                        A. He didn't tell us anything.
                                           He wrote something to us in
 28
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   1                                      the mail.
                                          …
   2                                      Q. A letter?
                                          A. Yes.
   3                                      …
                                          Q. Is it your recollection that
   4                                      the letter you received
                                          occurred in or about August,
   5                                      2002? Does take sound right
                                          time wise?
   6                                      A. I have no way of knowing
                                          whether it was back here in
   7                                      July or if it was in August.
                                          Q. Okay.
   8                                      You did not notify DC that
                                          you were cutting off
   9                                      negotiations until after you
                                          heard about the Toberoff
 10                                       Emanuel offer from Kevin
                                          Marks; correct?
 11                                       A. Could have been.
                                          Q. Well, we saw that you
 12                                       cutoff the?
                                          A. In September.
 13                                       Q. Correct. And that was after
                                          you had already heard about
 14                                       the Toberoff Emanuel
                                          proposal from Mr. Marks;
 15                                       correct?
                                          A. It seems that way.
 16                                       Id. Ex. 24 at 844:6-
 17                                       15, 875:7-21.

 18    4.   DC’s Sixth Claim fails      The 2008 consent                    The Peary Motion to
            because the consent         agreement is a                      Compel will seek
 19         agreement between the       document by which the               responses to DC’s
            Siegels and Shusters        Siegels and Shusters                questions to Peary
 20         amounts to protected        agreed not to enter into            concerning, inter alia,
            activity.                   an agreement with DC                the consent agreement.
 21         a. The consent              without the consent of              See PD ¶ 106. Some
            agreement is “directly      the other family.                   examples:
 22         related to the settlement   a. Peary admitted that                Q. When you signed the 2008
            of ongoing litigation.”     the agreement is still in             consent agreement, did you --
 23         Docket No. 145-1 at 20      effect—even though the                what did you understand the
            n.8.                        mediation session it                  purpose of that agreement to
 24                                     allegedly concerned                   be? Why were you signing it?
            b. “There is nothing        occurred in 2008:                     MR. TOBEROFF: You can
 25         improper about such                                               only answer that -- actually, I
            ‘consent agreements,’         Q. Is the consent agreement
                                                                              instruct you not to answer
 26         which are commonplace         that you signed in 2008 still
                                                                              because the sole -- your sole
            in commercial                 in effect?
                                                                              understanding is through
 27         agreements that include       A. Yes.
                                                                              communications with me.
            provisions addressing         Id. at 1174:5-7.                    (Unanswered question.)
 28         litigation and                                                    Q. You read the document

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   1        settlement….” Id. at 11.   b. Peary testified that,              before you signed it, didn't
                                       under the consent                     you?
   2                                   agreement, the Shusters               A. Yes, but I'll have to follow
                                       may not make any                      my attorney's advice.
   3                                   agreement with DC                     Q. Well, based on your
                                       without the Siegels’                  reading of the document,
   4                                   approval:                             what did you understand the
                                                                             purpose of your signing it to
                                         Q. Did you tell your mother
   5                                     in your conversations over the
                                                                             be?
                                                                             MR. TOBEROFF: I instruct
                                         years, and in particular about
   6                                     the consent agreement, that
                                                                             you not to answer if you --
                                                                             put it this way: You can only
                                         any agreement with DC or
   7                                     settlement with DC requires
                                                                             answer the question if you
                                                                             have an understanding
                                         the consent of the Siegels?
   8                                     A. Yes.
                                                                             independent of your
                                                                             conversations with me.
   9                                       PD Ex. 37 at 1185:1-              THE WITNESS: Well, all my
                                           8.                                understanding is based on my
 10                                    c. Peary testified that               communication with my
                                                                             attorney, so I can't say
 11                                    the consent agreement                 anything.
                                       is called the “Superman               (Unanswered question.)
 12                                    Agreement”—not the                    Q. Are you saying that when -
                                       “Settlement Strategy”                 - when you read the
 13                                    or “Collective                        document, you derived
                                       Bargaining                            absolutely no understanding
 14                                    Agreement,” as                        from reading the words?
                                       defendants’ briefing in               A. My understanding is
 15                                    this case has described               intricately bound with my
                                       it:                                   communications with Marc
 16                                      Q. You identified the               Toberoff.
                                         document that the Siegels and       Q. Can you answer my
 17                                      you signed as a consent             question?
                                         agreement. Is the word -- is        …
 18                                      that the title of the document?     Q. Did you understand that
                                         …                                   the agreement that you were
 19                                      THE WITNESS: I recall the           entering into required that
                                         title says "Superman                you could not settle any claim
 20                                      Agreement."                         with DC Comics without the
                                                                             consent of the Siegels?
 21                                      Id. at 1167:15-25.                  MR. TOBEROFF: I instruct
                                                                             you not to answer. The
 22                                                                          document has been held to be
                                                                             privileged and off limits and
 23                                                                          they can't ask you questions
                                                                             about the contents of the
 24                                                                          document. Instruct you not to
                                                                             answer.
 25                                                                          (Unanswered question.)

 26                                                                          PD Ex. 37 at
                                                                             1168:15-1171:20.
 27
 28                                                                        The Motion to Compel
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   1                                                                   Larson Testimony will
                                                                       seek responses to DC’s
   2                                                                   questions to Larson
                                                                       concerning the consent
   3                                                                   agreement. Some
                                                                       examples:
   4                                                                     Q. Does the consent
                                                                         agreement that you signed
   5                                                                     with the Shusters make any
                                                                         reference at all to Superboy?
   6                                                                     MR. TOBEROFF: I instruct
                                                                         you not to answer based on
   7                                                                     the consent agreement being
                                                                         held to be privileged, not
   8                                                                     disclose the substance.
   9                                                                     Id. Ex. 24 at 750:12-
                                                                         16.
 10                                                                      Q. And does the -- did you
                                                                         discuss with your mother at
 11                                                                      any time whether or not to
                                                                         enter into an agreement with
 12                                                                      the Shusters regarding the
                                                                         sharing of recoveries or
 13                                                                      proceeds from Superman?
                                                                         A. I believe we talked about
 14                                                                      it.
                                                                         Q. Can you relate that
 15                                                                      discussion to me?
                                                                         MR. TOBEROFF: I instruct
 16                                                                      you not to answer based on
                                                                         the attorney-client privilege,
 17                                                                      joint client privilege.
                                                                         Q. And these were
 18                                                                      conversations just between
                                                                         your mother and you; is that
 19                                                                      correct?
                                                                         A. Yes.
 20
                                                                         Id. at 752:6-17.
 21
 22                                                                    DC has yet to depose
                                                                       Toberoff, a key witness
 23                                                                    on this topic.
 24    5.   DC’s Sixth Claim is           The Toberoff                 The RFP Motion to
            moot because Toberoff’s       defendants have an           Compel will seek
 25         companies no longer           interest in this action.     correspondence related
            have interest in the heirs’   a. Peary admitted his        to the Toberoff
 26         putative rights.                                           defendants’ efforts (if
                                          understanding that,          any) to market the
 27         a. “PPC, IP Worldwide         upon termination of the      heirs’ rights, along with
            and IPW ... either no         Pacific Pictures             documents related to
 28         longer have, or never         agreements, 50% of the       the status of Toberoff’s
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   1        had, any interest in         Shusters’ alleged                  business entities and
            Superman, and                Superman rights would              any Superman-related
   2        accordingly, a claim for     be transferred to Pacific          interest they hold. See
            declaratory relief against   Pictures:                          PD ¶¶ 109-10.
   3        these entities is moot.”       Q. I want to go back to where
            Docket No. 145-1 at 24.        I was before, then, paragraph
   4        b. “The only interest that     8, and you -- when you
                                                                            DC has yet to depose
            IP Worldwide and PPC           signed this, you understood
                                                                            key witnesses on this
   5        ever had in any                that in the event that this
                                                                            issue, including
            Superman rights derived        venture was terminated for
                                                                            Toberoff, Emanuel,
   6        from agreements that           any reason, that PPC would
                                                                            PPC, IP Worldwide,
            have expired or have           own 50 percent of the rights
                                                                            and IPW.
   7        been cancelled.” Id. at        as a tenant in common with
   8        24-25.                         Jean and you, correct?
                                           A. Yes.
   9                                        PD Ex. 37 at 1316:9-
 10                                         15.
                                         b. Peary conceded that
 11                                      the September 10,
                                         2004, cancellation letter
 12                                      does not state that
                                         Pacific Pictures will
 13                                      obtain no rights:
                                           Q. Okay. Now, are you aware
 14                                        of any document at the time
                                           you executed Exhibit 20,
 15                                        which is the December --
                                           December -- excuse me, the
 16                                        September 10, 2004
                                           document, that states that the
 17                                        rights do not go 50 percent to
                                           the estate and 50 percent to
 18                                        PPC in the event of a
                                           termination?
 19                                        A. Not in that document, no.
                                           Q. It's not in Exhibit 20,
 20                                        correct?
                                           A. That's correct.
 21
                                            Id. at 1435:14-22;
 22                                         see also id. at
                                            1440:6-24.
 23                                      c. Peary testified that
 24                                      Pacific Pictures is not a
                                         party to the 2004 legal
 25                                      retainer agreement that
                                         he said stripped Pacific
 26                                      Pictures of its rights:
                                           Q. Your understanding that
 27                                        Pacific Pictures Corporation
                                           was a party to this retainer
 28                                        agreement?

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   1                                      A. No.

   2                                      Id. at 1439:24-
                                          1440:1.
   3
       6.   Toberoff represented the    Peary did not sign a                The Peary Motion to
   4        Shusters as an attorney—    legal retainer agreement            Compel will seek
            and that is what DC’s       with Toberoff until                 responses to DC’s
   5        complaint targets.          2004—three years after              questions concerning
            a. “DC[’s] …                the misconduct at issue.            the Pacific Pictures
   6        contentions are purely      a. Peary testified that             agreements, the
            retaliatory.” Docket No.    the Shusters did not                Shusters’ retainer
   7        196 at 4.                   have any legal                      agreement with
                                        agreement with                      Toberoff, and
   8        b. “Immediately after he    Toberoff until 2004:                Toberoff’s relationship
            was contacted by Peary                                          with the Shusters. See
   9        in mid-2001, Toberoff          Q. And the first time you        PD ¶ 106. For example:
            entered into an attorney-      signed any agreement with
                                                                              Q. Why did you agree in lieu
 10         client relationship with,      him where he signed as a
                                                                              of entering into a traditional
            and began providing            lawyer was in 2004, correct?
                                                                              lawyer-client agreement to
 11         legal advice to, Peary         A. Yes.
                                                                              hire the services of a lawyer?
            and Peavy.” Docket No.         Q. That's what you've been
                                                                              Whether it's on a contingent
 12         145-1 at 18-19.                calling the legal retainer
                                                                              fee or an hourly fee, why did
                                           agreement, right?
                                                                              you agree to enter into a joint
 13                                        A. Yes.
                                                                              venture with Pacific Pictures,
                                           PD Ex. 37 at 1300:7-               a company that is not a law
 14                                        13.                                firm?
                                                                              MR. TOBEROFF: You can't -
 15                                     b. Peary admitted that                - unless you can answer that
                                        he understood Toberoff                question independent of your
 16                                     signed the Pacific                    discussions with me, I instruct
                                        Pictures agreements as                you not to answer.
 17                                     “President” of Pacific                THE WITNESS: Okay. I'll
                                        Pictures, not as “Marc                have to follow your advice.
 18                                     Toberoff, Esquire”:                   (Unanswered question.)
                                           Q. And you -- and then you
 19                                        see that Mr. Toberoff signed
                                                                              PD Ex. 37 at
                                           [the 2001 Pacific Pictures
                                                                              1286:13-24.
 20                                        Agreement] as president of         Q. Okay. Tell me how [the
                                           Pacific Pictures on                2003 Pacific Pictures
 21                                        November 28, 2001, correct?        agreement] wasn't the best
                                           A. Yes.                            structure.
 22                                        …                                  A. We needed to have a
                                           Q. And you signed another          standard legal retainer.
 23                                        agreement with him in 2003,        Q. Why?
                                           also as president of Pacific       A. Because that was the best
 24                                        Pictures, correct?                 structure.
                                           A. Yes.                            Q. Why? Why was it the
 25                                        …                                  best? In what way was it
                                                                              better?
 26                                        Q. And [the 2003 Pacific           MR. TOBEROFF: The
                                           Pictures Agreement is]             "whys" get into his
 27                                        signed by Mr. Toberoff as          conversations with me. And
                                           president of PPC, correct?         so you can't get into that.
 28                                        A. Yes.                            Q. You understood when you

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   1                                   Q. Okay. And you do see in        changed this structure or at
                                       paragraph 2 here that it states   least attempted to change the
   2                                   PPC is not a law firm, right?     structure that the Pacific
                                       A. Yes.                           Picture agreements
   3                                   Q. Okay. And you                  constituted a violation of the
                                       understood that when you          copyright laws, correct? Did
   4                                   signed it, right?                 you have that understanding
                                       A. Yes.                           at that time?
   5                                   Q. And you -- and the first       A. At that time -- at that time,
                                       paragraph -- and you read         no.
   6                                   this carefully before signing     Q. Did you come to that
                                       it and you understood it          understanding afterwards?
   7                                   when you signed it, right?        MR. TOBEROFF: You can't
                                       "It" being Exhibit 13?            answer that without divulging
   8                                   A. Yes.                           attorney-client
                                                                         communications. Instruct you
   9                                   Id. at 1299:18-21;                not to answer.
                                       1300:3-6; 1389:16-                (Unanswered question.)
 10                                    130:4.
                                    c. Peary admitted in                 Id. at1332:2-1333:1.
 11                                 interrogatory responses              Q. Right. So you're saying
                                    that the Shusters’                   that -- who told you that the
 12                                 retainer agreement with              word "canceled" means that
                                    Toberoff was signed                  the termination provisions of
 13                                 “[o]n or about                       the joint venture agreements
                                    September 10, 2004.”                 no longer apply?
 14                                 Id. Ex. 39 at 1483.                  …
                                                                         A. That's my understanding of
 15                                 d. Peary produced (in                it.
                                    heavily redacted form)               …
 16                                 the Shusters’ September              Q. No one told you that, in
                                    10, 2004 retainer                    other words, right? That's
 17                                 agreement. Id. Ex. 40.               something you've come up
                                    e. Peary testified that              with on your own?
 18                                 Toberoff described his               A. We have a clear -- a clear
                                    work as a producer in                understanding when we
 19                                 the entertainment field:             switched from the joint
                                                                         venture to the legal retainer.
                                       Q. When you -- when you
 20                                    were doing the research on
                                                                         We clearly understood each
                                                                         other.
                                       Mr. Toberoff, did you come
 21                                    to learn that in addition to
                                                                         Q. Who is "we"?
                                                                         A. Me and Marc Toberoff.
                                       being an experienced
 22                                    entertainment attorney, that
                                                                         Q. How do you know that?
                                                                         A. Because we discussed it.
                                       he was also a producer of
 23                                    literary properties, including
                                                                         Q. What did you -- what did
                                                                         you and he discuss in that
                                       motion pictures and other
 24                                    popular titles?
                                                                         regard?
                                                                         …
                                       A. Yes.
 25                                    Q. And how did you come to
                                                                         MR. TOBEROFF: Okay.
                                                                         Then I instruct you not to
                                       learn that?
 26                                    A. In our discussions.
                                                                         answer with our discussions.
                                                                         (Unanswered question.)
 27                                    Id. Ex. 37 at                     Id. at 1440:25-
                                       1278:14-22.                       1442:15.
 28
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   1                                                                   Q. Did Mr. Toberoff discuss
                                                                       with you that there was a --
   2                                                                   that he was approaching the
                                                                       Siegels not to represent them
   3                                                                   as a lawyer but to do a
                                                                       business transaction with
   4                                                                   them?
                                                                       MR. TOBEROFF: Assumes
   5                                                                   facts. Lacks foundation.
                                                                       Instruct you not to answer as
   6                                                                   to the substance of our
                                                                       conversations.
   7                                                                   (Unanswered question.)
                                                                       Q. Did he discuss that he was
   8                                                                   aware of an investor, very
                                                                       wealthy investor, maybe even
   9                                                                   a billionaire investor who
                                                                       wanted to do a deal for the
 10                                                                    Superman rights?
                                                                       MR. TOBEROFF: Same
 11                                                                    instruction --
                                                                       (Unanswered question.)
 12                                                                    …
                                                                       Q. Did he discuss with you
 13                                                                    that he was going to approach
                                                                       the Siegels about such an
 14                                                                    investor?
                                                                       MR. TOBEROFF: Same
 15                                                                    instruction.
                                                                       (Unanswered question.)
 16                                                                    Id. at 1354:10-
 17                                                                    1355:8.

 18                                                                 The RFP Motion to
 19                                                                 Compel will seek drafts
                                                                    of all agreements
 20                                                                 between Toberoff and
                                                                    the Shusters, as well as
 21                                                                 relevant
                                                                    correspondence. Id. ¶¶
 22                                                                 109-10.

 23                                                                 DC has yet to depose
 24                                                                 key witnesses,
                                                                    including Toberoff and
 25                                                                 Pacific Pictures.

 26    7.   The Siegels approached      The Siegels’ initial        The Motion to Compel
            Toberoff as an attorney     discussions in 2002         Larson Testimony will
 27         and he has acted as their   were with Toberoff and      seek responses to DC’s
            counsel “ever since.”       Emanuel. A legal            questions related to the
 28         a. “Toberoff formed an      retainer agreement with     Siegels’ relationship
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   1        attorney-client             Toberoff was not                     with Toberoff. See PD
            relationship with the       signed until 2004.                   ¶ 107. Some examples:
   2        Siegels in October 2002,    a. Larson testified that               Q. But you have already
            immediately after Joanne    the Siegels’ initial                   testified that what Mr. Marks
   3        Siegel contacted him,       meetings with Toberoff                 told you is that these were
            and he has represented      all took place at                      two people who were calling
   4        the Siegels ever since.”    Emanuel’s talent                       about marketing the property;
            Docket No. 145-1 at 19.     agency, Endeavor:                      correct?
   5        b. “In early October                                               A. He didn't tell us anything.
                                          Q. What was the next thing
   6        2002, Joanne Siegel           that then happened in terms of
                                                                               He wrote something to us in
            contacted Toberoff ….         contacting Mr. Toberoff?
                                                                               the mail.
   7        The Siegels thereafter        A. I think -- I think my
                                                                               …
            formed an attorney-client     mother said, you know,
                                                                               Q. Did the letter say that Mr.
   8        relationship with             maybe we should -- we
                                                                               Toberoff and Mr. Emanuel
            Toberoff.” Id. at 9.          should talk to him in person
                                                                               had a wealthy investor who
                                                                               might be interested in
   9        c. “[T]he Siegels have        and, you know, see if we like
                                                                               acquiring your rights?
            repeatedly testified that     him.
                                                                               MR. TOBEROFF: Same
 10         they entered into an          …
                                                                               instruction. And objection.
            attorney-client               Q. And where was that
                                                                               Q. Did the letter indicate that
 11         relationship with             meeting?
                                                                               such an investor was willing
            Toberoff from the             …
                                                                               to pay much more money
 12         outset.” Docket No. 196       A. That first meeting. I think
                                                                               than the last offer Warner
            at 6.                         we went to a restaurant. But
                                                                               Bros. and DC Comics had
 13                                       no no no. I think we met at
                                                                               made to you?
                                          the endeavor offices in a
                                                                               MR. TOBEROFF: Same
 14                                       conference room.
                                                                               objection. Same instruction.
 15                                       PD Ex. 24 at 825:14-                 Q. Did the letter indicate that
                                          826:9.                               such an investor or party was
                                                                               interested in paying as much
 16                                       Q. Where did you meet
                                                                               as 15 million dollars?
                                          [Emanuel]?
                                                                               MR. TOBEROFF: Same
 17                                       A. At endeavor.
                                                                               objection. Same instruction.
                                          …
                                                                               Q. Plus additional terms
 18                                       Q. Okay. And who else was
                                                                               including a back ends if a
                                          present at that meeting?
                                                                               movie was made?
 19                                       A. My mother, I was there,
                                                                               MR. TOBEROFF: Same
                                          Mr. Emanuel, and Mr.
                                                                               objection. Same instruction.
 20                                       Toberoff.
                                          Q. Okay. And this is the first       PD Ex. 24 at 844:6-
 21                                       time met Mr. Emanuel?                10; 846:8-24.
                                          A. Yes.
 22                                       …
                                          Q. From the time that you          DC still awaits
 23                                       first met Mr. Toberoff until       production of the
                                          the meeting with will              Timeline Documents,
 24                                       Toberoff and Mr. Emanuel?          which relate to
                                          A. Um-hum.                         Toberoff’s initial
 25                                       Q. What's a -- how long did        relationship with the
                                          that take in between?              Siegels. Id. ¶¶ 99-102.
 26                                       A. Not very long.
                                          Q. A week?
 27                                       A. Possibly.                       DC will seek an
                                          Q. Okay. And again that was        unredacted copy of the
 28                                       also at the offices of             agreement through
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   1                                  [Endeavor]?                      which Toberoff and
                                      A. Correct.                      Emanuel formed IP
   2                                  Q. Good no one else was          Worldwide. Id. Ex. 20.
                                      there except the four of you
   3                                  right?
                                      A. No, because we went in at     DC has yet to depose
   4                                  this -- for that meeting we      key witnesses,
                                      went in to Mr. Emanuel’s         including Toberoff,
   5                                  office. It wasn't in a           Emanuel, IP
                                      conference room. It was in       Worldwide, Marks,
   6                                  Mr. Emanuel’s office.            Michaels, and Jean
                                       Id. at 836:8-839:9.             Peavy, who allegedly
   7                                                                   provided the Siegels
                                    b. Larson testified that,          with Toberoff’s contact
   8                                until 2004, the Siegels’           information. DC will
                                    only agreement with                depose these witnesses
   9                                Toberoff was the IP                after it receives the
                                    Worldwide agreement,               Timeline Documents
 10                                 which provided an                  and pending discovery
                                    “agent’s fee” in                   issues are resolved.
 11                                 exchange for business
                                    services:
 12                                   Q. From the time that you
                                      signed Exhibit 45 as of
 13                                   October 3, 2002, until the
                                      time that you signed the
 14                                   litigation agreement with Mr.
                                      Toberoff in 2004, neither you
 15                                   nor your mom signed an
                                      agreement with Mr. Toberoff
 16                                   calling for him to render
                                      litigation services; correct?
 17                                   A. Correct.
 18                                   Id. at 769:10-18.
                                      Q. And when you entered into
 19                                   your first agreement with Mr.
                                      Toberoff, part of that
 20                                   agreement involved services
                                      to be rendered by Mr.
 21                                   Toberoff and Mr. Emanuel
                                      for a 10 percent
 22                                   representation fee; correct?
                                      A. Yes.
 23                                   Q. That would be like an
                                      agents fee; correct?
 24                                   A. Yes.
 25                                   Id. at 760:12-18.
                                      Q. Can you take a look at
 26                                   paragraph 10 of Exhibit 45?
                                      A. Yes.
 27                                   Q. It states the parties
                                      understand and acknowledge
 28
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   1                                       that the scope of this
                                           agreement does not include
   2                                       legal services and/or expenses
                                           in connection with litigation
   3                                       or formal legal arbitration, if
                                           any …. And you agreed to
   4                                       that provision when you
                                           signed Exhibit 45; correct?
   5                                       A. Yes, regarding litigation.
                                           Q. Right. And it wasn't until I
   6                                       believe you said 2004 that
                                           you entered into the litigation
   7                                       agreement -- entered into a
                                           litigation agreement with Mr.
   8                                       Toberoff; is that correct?
                                           A. Correct.
   9                                        Id. at 768:5-22.
 10                                      c. Larson produced the
                                         Siegels’ retainer
 11                                      agreement with
                                         Toberoff (in heavily
 12                                      redacted form), which
                                         is dated “October 3,
 13                                      2004.” Id. Ex. 26 at
                                         1063.
 14
       8.   The Siegels                  There was no                        The Motion to Compel
 15         contemplated litigation at   agreement to retain                 Larson Testimony will
            the time they met            Toberoff for litigation             seek responses to DC’s
 16         Toberoff.                    services when the                   questions concerning
            a. “[I]t is … clear that     Siegels entered into the            when the Siegels
 17                                      October 2002                        contemplated litigation.
            Toberoff’s                   agreement with IP                   PD ¶ 107.
 18         communications with the      Worldwide.
            Siegels occurred in
 19         connection with              a. Larson testified that            DC awaits production
            settlement negotiations      the Siegels entered into            of the Timeline
 20         and anticipated              their “litigation                   Documents, including a
            litigation.” Docket No.      agreement” with                     letter from Marks to the
 21         145-1 at 17.                 Toberoff in 2004. PD                Siegels confirming that
                                         Ex. 24 at 768:19-22.                they had reached a
 22                                      b. Larson testified that            settlement with DC at
                                         there was “no                       the time Toberoff
 23                                      agreement between any               intervened. Id. ¶¶ 99-
                                         member of the Siegel                102.
 24                                      family and the law
                                         offices of Marc
 25                                      Toberoff in 2002.” Id.              DC has yet to depose
                                         at 763:21-24.                       key witnesses,
 26                                                                          including Toberoff,
                                         c. Larson testified that            Emanuel, IP
 27                                      the Siegels extended                Worldwide, Marks, and
                                         their agreement with IP             Michaels.
 28                                      Worldwide through
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   1                                     2005:
                                           Q. Do you recall having
   2                                       signed an amendment to this
                                           [IP Worldwide Agreement]
   3                                       extending the term till I think
                                           you said 2005?
   4                                       A. Yes.
                                           Q. What can you tell me
   5                                       about that document [since] I
                                           don't believe we have it.
   6                                       A. It was very short, and I
                                           believe it just referenced this
   7                                       document, and the only thing
                                           that was different about it
   8                                       was it said that we were
                                           extending the terms of this
   9                                       contract through a particular
                                           date.
 10
                                            Id. at 767:16-24.
 11                                      d. After Larson’s
 12                                      deposition, defendants
                                         produced agreements
 13                                      showing that the
                                         Siegels extended their
 14                                      agreement with IP
                                         Worldwide through
 15                                      April 23, 2005. Id. Ex.
                                         46 at 1598.
 16
       9.   The Shusters                 There was no                        The Peary Motion to
 17         contemplated litigation at   agreement to retain                 Compel will seek to
            the time they met            Toberoff for litigation             responses to questions
 18         Toberoff.                    services when the                   regarding the Shusters’
            a. “The 2001 and 2003        Shusters entered into               contemplation of
 19         Pacific Pictures             their joint-venture                 litigation, which Peary
            agreements between           agreement with Pacific              was instructed not to
 20         Toberoff and the             Pictures in November                answer. PD ¶ 106.
            Shusters clearly             2001.                               Some examples:
 21         contemplate litigation       a. Peary admitted that              Q. Okay. Take a look at
            related to the termination   the Shusters had no                 paragraph 7. It states there that
 22         of Joseph Shuster’s          legal retainer agreement            the venture will retain Toberoff to
            copyright grants.”           until 2004:                         render legal services including in
 23         Docket No. 145-1 at 17.                                          connection with legal disputes
                                            Q. And the first time you
                                                                             and litigation.
 24         b. “The entire process          signed any agreement with
                                                                             Do you see that?
            surrounding the Shuster         him where he signed as a
                                                                             A. Yes.
 25         Termination was                 lawyer was in 2004, correct?
                                                                             Q. Legal disputes and litigation
            conducted in the arena of       A. Yes.
                                                                             with whom?
 26         threatened litigation and       Q. That's what you've been
                                                                             MR. TOBEROFF: I instruct you
            settlement, which brings        calling the legal retainer
                                                                             not to answer. This obviously
 27         the Fourth Claim                agreement, right?
                                                                             deals with discussions with
            squarely within the Anti-       A. Yes.
                                                                             counsel regarding potential
 28         SLAPP law.” Id.                 PD Ex. 37 at 1300:7-             litigation.

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   1        c. The Shusters’                 13.                              (Unanswered question.)
            termination notice was       b. Interrogatory                     Q. Well, it's fair to say that you
   2        “a prelude to litigation.”   responses show that                  understood when you signed this
            Id. at 16.                   agreement was signed                 that there was a prospect of
   3                                     “[o]n or about                       litigation with DC Comics or
                                                                              some Time-Warner company,
   4                                     September 10, 2004.”                 correct?
                                         Id. Ex. 39 at 1483.                  MR. TOBEROFF: Instruct you
   5                                     c. Peary admitted that               not to answer. It implicates
                                         he understood at the                 attorney-client communications.
   6                                     time of signing the                  (Unanswered question.)
                                         Pacific Pictures                     Q. You didn't -- you didn't need a
   7                                     agreements that Pacific              lawyer to tell you that, right?
                                         Pictures was not a law               MR. TOBEROFF: Instruct you
   8                                     firm:                                not to answer.
                                                                              (Unanswered question.)
                                            Q. And [the 2003 Pacific
   9                                        Pictures Agreement is]
                                                                              …
                                                                              Q. You understood -- you
                                            signed by Mr. Toberoff as
 10                                         president of PPC, correct?
                                                                              understood that when you signed
                                                                              this there was some appreciation
                                            A. Yes.
 11                                         Q. Okay. And you do see in
                                                                              that you would be in litigation?
                                                                              MR. TOBEROFF: Instruction.
                                            paragraph 2 here that it states
 12                                         PPC is not a law firm, right?
                                                                              Same instruction.
                                                                              (Unanswered question.)
                                            A. Yes.
 13                                         Q. Okay. And you                  Id. Ex. 37 at 1322:16-
 14                                         understood that when you          1323:14; 1324:2-7.
                                            signed it, right?
                                            A. Yes.
 15                                         Q. And you -- and the first       DC has yet to depose
 16                                         paragraph -- and you read         Toberoff and Pacific
                                            this carefully before signing     Pictures, key witnesses
 17                                         it and you understood it          regarding any
                                            when you signed it, right?        contemplation of
 18                                         "It" being Exhibit 13?            litigation by the
                                            A. Yes.                           Shusters.
 19                                        Id. Ex. 37 at
                                           1389:16-1390:4.
 20
       10. DC’s allegation that          Evidence supporting                  Because defendants
 21        Toberoff induced the          these allegations:                   asserted privilege and
           Siegels to sever their        a. Michael Siegel’s                  instructed Bulson not to
 22        relationship with DC                                               answer questions,
           based on fraudulent           May 13, 2003, letter to              Bulson and DC agreed
 23        promises of a “billionaire    Laura Siegel Larson                  to continue that
           investor” and competing       confirms:                            deposition to this Fall,
 24        Superman movie is             • Toberoff represented               once those objections
           “utterly false” and a            that he “had a                    have been resolved. PD
 25        “mockery.”                       mysterious                        ¶¶ 111-12.
           a. “DC’s argument that           billionaire who
 26                                         wanted to invest in
           Toberoff defrauded the           the Superman                      DC awaits the
 27        Siegels is utterly false,        copyright,”                       resolution of
           contrary to all the                                                defendants’ Ninth
 28        evidence, and DC offers       • Toberoff said “he                  Circuit writ and the
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   1        no admissible evidence        was going to team                production of the
            to support it.” Docket        with [agent Ari]                 Timeline Documents,
   2        No. 196 at 10.                Emmanuel and make                including the letter from
            b. “Each of these             a movie,” and                    Marks to the Siegels
   3        allegations has been        • The “billionaire                 describing Toberoff’s
            conclusively disproven        investor” never                  representations. Id. ¶¶
   4        by documents and sworn        materialized and a               99-102.
   5        depositions provided in       competing Superman
            2006, and none can be         movie “has not                   The Motion to Compel
   6        cured by further              happened.”                       Larson Documents will
            discovery.” Id. at 1.          Docket No. 225-4 at             seek production of
   7        c. “DC’s allegation that       3.                              Larson’s response to
            Toberoff misled the         b. Larson admitted that            Michael’s May 13
   8        Siegels … is based          she responded to                   letter, as well as other
            entirely on this            Michael’s letter:                  correspondence. Id. ¶
   9        untrustworthy,                                                 107.
            inadmissible Timeline,        Q. Did you respond to [the
 10         and is contradicted by        May 13 letter]?
            the sworn testimony of        A. I'm sure I did.               DC has yet to depose
 11         all percipient witnesses       Id. Ex. 24 at 986:24-           key witnesses on this
            …. DC knows all this,          25.                             issue, including
 12         yet conceals it from the                                       Toberoff, Emanuel,
            Court.” Id. at 2-3.         c. Larson has                      Marks, Michaels, and
 13         d. “[T]he Timeline does     attempted to                       IP Worldwide.
            not even state that         characterize her half-
 14         Toberoff spoke with the     brother as “confused,”
            Siegels about a             id. at 987:6-19, but
 15         billionaire. The            discovery shows that
            Timeline says he            defendants withheld
 16         discussed the billionaire   key facts from Michael
            with their then-attorney,   in their efforts to
 17         Kevin Marks, on August      purchase his Superman
            8, 2002. FAC Ex. A 63.      interest:
 18         But Kevin Marks               Q. Do you remember
 19         testified about this          whether the letter you
            conversation four years       received and that your mother
 20         ago, and his testimony        received in which Mr. Marks
            shows what a mockery          discussed the
 21         DC’s accusations of           Toberoff/Emanuel proposal
            fraud really are….” Id.       was -- also included Mr.
 22         at 4-5.                       Bulson on it?
                                          A. I don't remember.
            e. “Marks’ declaration        Q. Okay. Did you discuss
 23         merely confirms what he       the letter with Michael Siegel
            already testified to in       or Mr. Bulson?
 24         2006, and what every          A. I don't remember doing
            witness who has been          that.
 25         deposed on the subject
            has testified to: the         Id. at 896:12-19
 26         alleged ‘wrongful’ acts
            in August 2002 that form      Q. Did you tell Michael that
 27         the basis of DC’s Fifth       you were involved in Ari, in
            Claim did not take            the decision to have Ari
 28         place.” Docket No. 203
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   1         at 7.                         Emanuel acquire his
                                           termination interests?
   2         f. “At no time during         A. I don't believe we
             that conversation [on or      discussed it.
   3         around August 7, 2002]
             did either Mr. Toberoff       Id. at 991:5-8
   4         or Mr. Emanuel say
             anything about a              Q. … Did you think it was
   5         ‘billionaire investor.’       important for your half
             The word ‘billionaire’        brother, Michael Siegel, to
   6         was never used in the         know that the person who
             conversation by any of        was seeking to acquire his
   7         its participants. There       termination interest was Ari
             was discussion by Mr.         Emanuel, the same person
   8         Emanuel concerning            with whom you were doing
             actual or prospective         business?
   9         investors.” Docket No.        A. No, I didn't think that
             196-3 ¶ 4.                    was important.
 10          g. “At no time during         Q. And you did not ever
             that conversation [on or      communicate to your brother
 11          around August 7, 2002]        that it was Ari Emanuel who
             did either Mr. Toberoff       was this investor; correct?
 12          or Mr. Emanuel say            A. I don't recall doing that.
             anything about helping
 13          the Siegels to produce        Id. at 999:24-1000:8
             their own ‘Superman’
 14          motion picture, nor did       Q. And you did not tell
             either Mr. Toberoff or        Michael Siegel in your
 15          Mr. Emanuel say               response letter [to the May 13
             anything about                letter] that Mr. Emanuel was
 16          producing a ‘Superman’        indeed the very person with
             motion picture that           your full knowledge and
 17          would compete with a          blessing who was attempting
             ‘Superman’ motion             to acquire his interest.
 18          picture being developed       MR. TOBEROFF: Asked
             by Warner Bros. or DC         and answered.
 19          Comics.” Id. ¶ 5.             THE WITNESS: No, I did
                                           not mention that.
 20          h. DC’s allegations
             amount to “tactical           Id. at 1033:1-6
 21          character assassination”
             and “flagrantly violate
 22          the basic rules of
             evidence, privilege, and
 23          common decency.”
             Docket No. 193 at 2-3.
 24
       11.   The assertions in the       Many of the assertions              The Motion to Compel
 25          Toberoff Timeline are       in the Timeline have                Larson Documents will
             completely inaccurate.      proven to be accurate in            seek Larson’s response
 26          a. The Timeline is          discovery.                          to Michael’s May 13
             “screed penned by a thief   a. The Timeline                     letter, as well as other
 27          who … had absolutely        correctly described the             relevant
             no percipient knowledge     Siegels’ contingency                correspondence. PD ¶
 28          of the events he purports   arrangement with                    107.
                                                          PETROCELLI DECL. ISO DC’S UPDATED
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   1        to describe,” “mud-          Toberoff, identifying its
            slinging,”                   “33.3% contingency fee              DC still awaits
   2        “untrustworthy,” and         to go up to 40% if it               production of the
            contains “random             falls within 60 days of             Timeline Documents,
   3        accusations … which          trial.” FAC Ex. A at                which it expects will
            have been refuted by the     67; compare PD Ex. 26               confirm other
   4        testimony of every           ¶ 5(a) (specifying                  allegations in the
            percipient witness.”         “33.33%” fee and                    Timeline. Id. ¶¶ 99-
   5        Docket No. 196 at 1, 2,      providing “Sixty (60)               102. Today, Magistrate
            10.                          days before trial the               Zarefsky granted DC’s
   6        b. “The inadmissible         Firm’s one-third                    motion to compel
            [Timeline] is set up as an   Percentage Fee shall                defendants to produce
   7        obvious ‘hit piece’          increase to forty percent           their communications
            against Toberoff, and        (40%)”).                            with the U.S.
   8        purports to discuss the      b. The Timeline                     Attorney’s Office
   9        stolen privileged            accurately quotes and               concerning the
            documents the attorney       summarizes Michael                  Timeline. Id. ¶ 108.
 10         handed over to Warner        Siegel’s May 13, 2003,
            Bros.” Docket No. 145-       letter to Larson almost
 11         1 at 12.                     verbatim:                           After resolving the
            c. “DC continues to          • The Timeline states:              privilege assertions at
 12         provide no admissible                                            Bulson’s deposition,
            evidence whatsoever to         Among other things, Michael       DC will seek to depose
 13         support its claims, and        Siegel tells [Larson] of how      Bulson on the content
            admits that it has no such     Toberoff is now controlling       and accuracy of the
 14         evidence and is relying        the whole of the                  Timeline.
                                           SUPERMAN copyright, how
            instead on the                 he may have bought a
 15         inadmissible ‘Toberoff         substantial portion of the        DC has yet to depose
            Timeline,’ the hearsay         Schuster interest himself, and    key witnesses on this
 16         statement of a belligerent     be brings to light MT’s utter     issue, including
            thief, currently under         lack of opening a dialogue        Toberoff and Michaels.
 17         grand jury investigation,      with anyone regarding
            which contradicts the          making another SUPERMAN
 18         sworn deposition               movie, in partnership with
            testimony of everyone          Are Emanuel. Also that MT
 19         with knowledge on the          has not even made contact
            subject.” Docket No.           with Time Warner. Lastly,
 20         203 at 4.                      Michael conveys that MT
                                           seems to have an agenda of
 21                                        “someone” buying him out,
                                           and that MT is pressing for
 22                                        an answer.
 23                                        FAC Ex. A. at 64-65.
 24                                      • The May 13 letter
                                           confirms:
 25                                        Now that you have signed
                                           with him, he is in control of
 26                                        the whole Superman
                                           copyright. Marc has chosen
 27                                        not to open any dialog with
                                           Time Warner or anyone else.
 28
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   1                                   …
                                       Do you know who owns the
   2                                   Shuster interest in the
                                       Superman copyright? Has
   3                                   Marc bought the Shuster
                                       interest himself?
   4
                                       …
   5                                   Marc seems to have an
                                       agenda of someone buying
   6                                   me out so I will have to look
                                       for the best deal I can get.
   7                                   Marc is really pressing for an
                                       answer to the offer his
   8                                   investor made.
   9                                   Docket No. 225-4 at
                                       3.
 10                                 c. The Timeline
 11                                 identifies and describes
                                    Larson’s response to
 12                                 Michael’s May 13,
                                    2003 letter, which
 13                                 Larson confirmed:
                                    • The Timeline says:
 14                                    Laura Siegel reveals her
                                       ignorance of Toberoff’s
 15                                    dubious actions in her return
                                       letter back to Michael.
 16                                    …
                                       Also, in the letter back to
 17                                    Michael Siegel, that MT
                                       helped Laura Siegel draft ---
 18                                    in response to Michael’s
                                       accusations of Toberoff,
 19                                    Laura clearly states that MT
                                       does not have a production
 20                                    company. (This is false -
                                       Marc Toberoff’s IPW has
 21                                    been in existence, partly
                                       funded by Ari Emanuel, since
 22                                    at least 2002).
 23                                   FAC Ex. A at 65-66.
 24                                 • Larson testified that
                                      she sent a response to
 25                                   the May 13 letter, as
                                      summarized in the
 26                                   Timeline:
                                       Q. Did you respond to [the
 27                                    May 13 letter]?
                                       A. I'm sure I did.
 28                                    …

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   1                                   Q. Okay. And now dropping
                                       down to the end of the next
   2                                   11 page with the Bates
                                       labeled Q 0004, the reference
   3                                   to the July 5, 2003 date, do
                                       you see that?
   4                                   A. Yes, I do.
                                       Q. It says Laura Siegel
   5                                   reveals her ignorance of
                                       Toberoff's dubious actions
   6                                   and her return letter back to
                                       Michael putting aside the
   7                                   characterization of your
                                       ignorance does July 5, 2003,
   8                                   sound right to you as around
                                       the time that 18 you
   9                                   responded to the May 13,
                                       2003 letter?
 10                                    A. It could have been.
                                       …
 11                                    Q. Did you tell Michael
                                       Siegel in your response letter
 12                                    back that Mr. Toberoff does
                                       not have a production
 13                                    company?
                                       A. Yes, I believe I did.
 14                                    PD Ex. 24 at 985:24-
 15                                    25; 986:10-19;
                                       987:10-12.
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